 Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 1 of 76 PageID #: 5216




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

MICHAEL AMOS, et al.                                                                 PLAINTIFFS

VS.                                               CIVIL ACTION NO. 4:20-CV-07-DMB-JMV

TOMMY TAYLOR, et al.                                                               DEFENDANTS


                        DECLARATION OF JEWORSKI MALLETT


       Pursuant to 28 U.S.C. § 1746, I, Jeworski Mallett, declare under penalty of perjury that

the following statements, based on my personal knowledge, are true:

       1.      I am an adult resident citizen of Ridgeland, Mississippi. I am competent to testify

to the matters contained in this Declaration, and I give this Declaration voluntarily.

       2.      I have been employed by MDOC since September 2001. I am currently serving as

the Mississippi Department of Corrections (“MDOC”) Deputy Commissioner of Institutions

(“DCI”). I was appointed acting Deputy Commissioner on January 15, 2020, and my role as DCI

became permanent on February 1, 2020.

       3.      In my position as DCI, I am responsible for, among other things, evaluating and

improving security procedures, conditions of confinement, and support services for MDOC

correctional facilities, including at the Mississippi State Penitentiary at Parchman (“MSP”). I

report directly to the MDOC Commissioner, Mr. Burl Cain.

       4.      I visit MSP regularly. I have general personal knowledge of the present conditions

of confinement at MSP, including but not limited to staffing of correctional officers, security and

safety protocols, food services, medical care, cleaning requirements, and general operations.



                                           EXHIBIT
                                                 1
 Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 2 of 76 PageID #: 5217




       5.      As has been widely reported, there was a gang-related disruption within MDOC

correctional facilities in late December 2019 and early January 2019, before I was appointed as

DCI. That disruption also impacted MSP, resulting in increased inmate-on-inmate violence and

lockdowns at MSP during the following days and weeks. The disruption resulted in five inmate

deaths at MSP, each of which was caused by stabbings or blunt force injuries by other inmates.

That disruption was unfortunate, but it was not a normal occurrence within MDOC or at MSP. It

was an aberration. MSP has not experienced a homicide since January 21, 2020.

       6.      Since the disruption, MDOC has made significant, calculated movements to

stabilize MSP and improve the conditions of confinement at MSP. MDOC’s efforts to better the

conditions of confinement at MSP are ongoing and continuous.

       7.      I have reviewed the allegations in Plaintiffs’ Memorandum in Support of their

Supplemental Emergency Motion for TRO and Preliminary Injunction and the exhibits submitted

by Plaintiffs in connection with the same, including but not limited to Plaintiffs’ photographs,

declarations, and expert reports from Eldon Vail, Dr. Marc Stern, Dr. Craig Haney, Debra

Graham, Madeleine LaMarre, and Frank Edwards. It is my understanding that Plaintiffs’

allegations and expert reports are based on alleged conditions that existed during their inspection

of MSP on February 12 and February 13, 2020. Those conditions have changed significantly in

the past five months.

       8.      I personally attended the June 24, 2020 inspection of MSP, which was attended

by MDOC’s experts, Defendants’ counsel, and Plaintiffs’ counsel. I have reviewed photographs

taken during the June 24, 2020 inspection, which are attached as Exhibit 5 to Defendants’

Response in Opposition to Plaintiffs’ Supplemental Emergency Motion for TRO and Preliminary

Injunction (“Defendants’ Response”). Based on my personal knowledge, the photographs



                                                 2
 Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 3 of 76 PageID #: 5218




attached as Exhibit 5 to Defendants’ Response are a true and accurate representation of the

conditions that existed at MSP on June 24, 2020.

       9.      It is my opinion that Plaintiffs’ allegations and expert submissions are based on

outdated evidence that does not reflect the present conditions at MSP or the substantial

improvements MDOC has made at MSP over the last five months, which include:

   •   Appointment of Burl Cain as MDOC Commissioner – In June 2020, Governor Reeves
       appointed Burl Cain, former warden at the Louisiana State Penitentiary, to be
       Commissioner of MDOC. I am aware of the significant plans that Commissioner Cain
       has for improving safety and conditions at MSP and all MDOC facilities, many of which
       are already underway and are described below. Among other things, Commissioner Cain
       has already: increased authority of MSP’s Superintendent so that he can quickly address
       a broader range of potential problems; begun developing plans for bettering the inmate-
       to-office ratio at MSP, including by using inter- and intra-facility transfers and increasing
       hiring incentives for security officers; hired three new chaplains at MSP to assist with
       counseling; begun conducting a complete review of MSP’s food operations; started
       working to institute additional educational vocational opportunities for inmates at MSP;
       started establishing video visitation for MSP inmates so that they can better communicate
       with their families; and required betterment of many structural issues at MSP.

   •   Plans to Restore ACA Accreditation – Commissioner Cain has made accreditation with
       the American Correctional Association (“ACA”) a central goal for MSP. The ACA is an
       organization that sets standards and monitors compliance of correctional institutions
       across the country. In 2015, and in years prior, MSP was an ACA-accredited facility.
       Although former MDOC commissioners permitted MSP’s ACA accreditation to lapse,
       Commissioner Cain’s goal is to obtain ACA accreditation by July 2022. To that end,
       Commissioner Cain has already reassigned one executive staff member because of
       concerns that the staff member was not moving swiftly enough to achieve ACA
       accreditation and to make related improvements at MSP.

   •   Appointment of Timothy Morris as Acting MSP Superintendent – MSP’s former
       Superintendent, Marshall Turner, exercised his option to retire in April 2020, making
       room for the appointment of Warden Timothy Morris as the new acting Superintendent of
       MSP. MDOC expects Mr. Morris to institute improvements at MSP to aid in achieving
       ACA accreditation. Commissioner Cain has already expanded the role and authority of
       MSP’s Superintendent to include authority over maintenance, classification, and
       investigations. Providing broader authority to MSP’s Superintendent should improve
       response times for maintenance, security, and other issues.

   •   Inmate Transfers – Since the end of the gang disruption in January 2020, MDOC has
       transferred more than 1,600 inmates out of MSP, including nearly 800 from Unit 29 and
       more than 300 from Unit 30. Those transfers were made in order to close parts of Unit 29

                                                 3
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 4 of 76 PageID #: 5219




     and to bring the officer-to-inmate ratio at MSP into compliance with ACA standards. The
     transfers has also facilitated accelerated repairs and structural improvements at MSP.

 •   Closure of, and Improvements to, Unit 29 Buildings – Following the noted transfer of
     inmates, MSP closed six of the 12 buildings in Unit 29. Closing those buildings allowed
     MSP to focus its security officers on the remaining buildings, bettering the inmate-to-
     officer ratio. In addition, MSP is currently repairing and renovating Building C of Unit 29
     so that it can be used to house inmates who currently reside in Building F of Unit 29.
     MDOC will ensure that the required independent health and safety inspections are
     conducted for Building C of Unit 29 before it is occupied. After the inmates are
     transferred to Building C, MDOC will close Building F. The repairs and transfers are
     expected to be completed in three months.

 •   Hiring Efforts and Improvements – Commissioner Cain has instituted new hiring
     measures for security officers at MSP. Officers can now be hired and placed on MDOC’s
     payroll the day that they are interviewed, removing the time lag that previously existed.
     Prior to this change, applicants were required to obtain and pay for their own physical
     after their interview, and then MDOC evaluated them for a period of time before hiring
     them, which could be a lengthy process. Applicants are now hired, put on payroll, and
     then evaluated by MDOC while in training. This allows MDOC to fill vacant officer
     positions faster with qualified candidates who prove themselves through training.

     MDOC also raised pay for correctional officers by $1,500 per year, bringing the total
     salary to approximately $27,000 per year, plus an approximate $12,000 per year in
     benefits, bringing the total compensation package to $39,000 per year.

     MDOC is also now promoting premium pay for Emergency Response, tactical, and K-9
     teams, with built-in overtime for longer shifts, and shift-differential pay. Commissioner
     Cain has approved renovation of ten houses on MSP grounds where certain officers must
     live so that they can respond faster to institutional emergencies.

     These efforts have already produced results. MDOC recently hired 11 additional security
     officers for MSP, and from June 2020 to July 2020, MDOC doubled the total number of
     officers enrolled in its training academy. Also, Commissioner Cain filled three vacant
     chaplain positions for MSP, each of whom will be living on MSP grounds and are
     expected to improve counseling services, inmate quality of life, and rehabilitation.

     Due to the transfer of inmates out of MSP, the closure of buildings in Unit 29, and
     increased hiring efforts, MSP’s current officer to inmate ratio is in compliance with ACA
     standards, including those that require MDOC to evaluate staffing needs on an ongoing
     basis to ensure inmates have access to programs and services. As of June 24, 2020, there
     are 2,052 inmates at MSP and 222 officers. See MSP Bed Capacity and Filled
     Correctional Officer Positions attached as Exhibit A.

 •   Staffing Analysis – MDOC is currently contracting with an industry expert to perform
     staffing analyses of MSP and other MDOC facilities, consistent with ACA standards.

                                              4
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 5 of 76 PageID #: 5220




     MSP’s staffing analysis is being conducted by former President of the ACA and
     Secretary of the Department of Public Safety and Corrections in Louisiana, Mr. Richard
     Stalder. The staffing analysis will evaluate the current prison population and facilities to
     determine how many correctional officers are needed in various capacities at MSP to
     operate the prison most efficiently and safely. The analysis will take into account the new
     security measures at MSP, including addition of cameras as discussed below.

 •   Evaluation of Current Classification System – MDOC is also currently contracting with
     an industry expert to evaluate MDOC’s inmate classification system at all facilities,
     including MSP. The evaluation will be performed by Dr. James Austin, with the JFA
     Institute. Dr. Austin’s evaluation of MDOC’s classification system will include a
     comprehensive reliability and validity test and will recommend revisions to the
     classification system, assessment forms, instrument refinement, and system modification.

 •   Decreased Inmate Violence – Incidents of inmate violence at MSP have decreased since
     the gang disturbance in January 2020. There have been no deaths at MSP caused by
     inmate violence since January 2020. All inmate deaths at MSP from February 2020 to
     present were determined by autopsy to be the result of natural causes. Also, there were
     eleven assaults with weapons by inmates at MSP in January, two in February, one in
     March, and one in April. There were zero inmate assaults with a weapon in May. See
     MSP Combined Monthly Report attached as Exhibit B.

 •   Increase in Confiscations – I am personally aware of the significant efforts by MSP to
     increase confiscation of contraband by performing more shakedowns of inmates,
     common areas, and housing units. While MSP confiscated only 97 items of contraband in
     January 2020 and 95 items in February, MSP confiscated 948 items of contraband in
     April and1382 items in May. See id.

 •   Cameras – Under Commissioner Cain’s direction, MDOC will spend one million dollars
     to add cameras at MSP and other MDOC facilities. The cameras will be strategically
     installed in every unit where inmates are housed. The cameras will increase security by
     decreasing the number of officers required to monitor units so that more officers can be
     deployed to respond to emergency situations or to perform other functions. The cameras
     will be monitored 24 hours a day, 7 days a week.

 •   Cessation of Lockdown – MSP was placed on lockdown status to protect inmates and
     officers from violence following the noted gang disturbance. MDOC lifted MSP’s
     institution-wide lockdown on February 14, 2020; however, Unit 29 and Unit 30, Building
     B, remained on lockdown until March 8, 2020, in order to facilitate investigations of
     inmate deaths and to coordinate the safe transfer of inmates from Unit 29. Since then,
     MSP has remained off lockdown with very limited exceptions. Based on my review of
     the allegations in Plaintiffs’ Memorandum and expert submissions, it seems that Plaintiffs
     improperly assume that lockdown conditions continue at MSP. They do not.




                                              5
 Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 6 of 76 PageID #: 5221




   •   Budget Allocation for June 2020 to June 2021 Fiscal Year – MDOC succeeded in
       retaining approximately the same funding for this fiscal year that it had last fiscal year.
       That is considered a success given that the State is currently operating within an overall
       deficit budget. For this fiscal year, MDOC’s general fund budget is $310,898,986, and
       the special fund budget is $27,228,952. MDOC will use the available funds to better
       conditions of confinement at MSP.

   •   Rehabilitation – Commissioner Cain is instituting policies at MDOC that were successful
       in Louisiana for improving inmate rehabilitation and decreasing violence. In addition to
       hiring three chaplains and approving the use of approximately 30 inmate preachers for
       counseling and stress reduction, MDOC is working with Mississippi Prison Industries to
       institute new vocational and reentry programs for MSP inmates. To coordinate those
       efforts, on July 8, 2020, MDOC hired Mr. Gary Young as Deputy Commissioner of
       Reentry. Commissioner Cain plans to bring back the rodeo at MSP and is working to
       create new inmate clubs and organizations at MSP. In recent weeks, MDOC installed
       larger televisions in the housing units at MSP and allocated funds to create video
       visitation, telecommunications, and tele-learning systems. Inmates will be able to visit
       with their loved ones and resume program/treatment initiatives using video technology.

   •   Repairs and Improvements to Facilities – Defendants have mounted a significant and
       continued campaign to improve and repair the conditions at MSP. See App’x I to
       Sprayberry Declaration. The extensive repairs are well-documented. Since February,
       Defendants have repaired roofs, showers, and bathrooms. MSP has replaced two of its six
       sewage/wastewater lift stations, and has plans and funding to replace the rest. MSP has
       awarded contracts for housing roof improvements. MSP is adding four new, industrial-
       sized fans to each building, including in Units 29 and 30. MDOC has also set aside funds
       to complete a full renovation of the bathrooms in Unit 30, a general population housing
       unit. The renovations will be consistent will ACA standards.

   •   Improved Communication with Centurion – In part as a result of personnel changes,
       including MSP’s new Acting Superintendent and Centurion’s new Medical Director at
       MSP, communication and cooperation between MSP officials and Centurion personnel
       have improved. Among other things, the increased cooperation has led to more efficient
       and timely transport of inmates to and from the medical units at MSP, responses to sick
       call requests, and provision of inmate medications.

       10.    In addition to the noted improvements at MSP, the following are my personal

observations regarding the veracity of certain allegations contained in Plaintiffs’ Memorandum

in Support of their Supplemental Emergency Motion and expert submissions.

   •   Inmate Violence – Since January 2020, MDOC has devoted substantial time and
       resources to preventing inmate-on-inmate violence. As noted, these measures include:
       appointing new key personnel, including Commissioner Burl Cain; transferring
       approximately 1600 inmates out of MSP, including 800 inmates from Unit 29 and 300

                                                 6
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 7 of 76 PageID #: 5222




     from Unit 30; closing six buildings in Unit 29; transferring inmates within MSP after
     reclassifying them; screening and terminating existing officers; training and supervising
     new officers; contracting with industry experts to perform staffing analyses and to
     evaluate MDOC’s classification system; increasing recruitment and hiring efforts for
     officers; enforcing policies that ensure officers report for duty; increasing superintendent
     authority; increasing confiscation of contraband; and hiring chaplains and others to
     reduce inmate stress. The numbers do not lie – the above efforts have worked to
     significantly decrease inmate violence at MSP. See Ex. B.

 •   Staffing Levels – Due to the transfers and moves, inmate-to-officer ratios are currently in
     substantial compliance with ACA standards at MSP. See Ex. A. These changes have
     contributed to reducing inmate violence.

 •   Correctional Officer Presence in Units – Correctional Supervisors and officers perform
     inmate counts every two hours from 7:00 am until 11:00 pm and every hour from
     midnight until 6:00 a.m. Officers perform security checks on inmates in segregation—
     which includes some inmates in Unit 29—every thirty minutes. For non-segregation
     units, such as Unit 30, security checks are performed at shift change and at random times
     throughout the day. Shotguns are not used in security checks. They have been used only
     in extraordinary situations, such as during the gang disruptions, and then only non-lethal
     ammunition is used as a means of controlling the disruption. Officers may use shotguns
     to fire such non-lethal rounds (such as rubber bullets) only as a last resort after
     exhausting all lower levels of force. Shotguns are no longer allowed in housing units and
     any prior practice of the same that might have existed has been disbanded. While some
     units require an officer in the towers all day, other units do not. The staffing analysis
     being performed by Mr. Stalder will aid MSP in determining the proper use of officers to
     maximize inmate safety. Cameras which are being added to MSP will also eliminate the
     need to position officers in towers at all times within general population settings.

 •   Use of Floor Walkers – I am not aware of any floor walkers exercising any level of
     authority over inmates. Floor walkers are required to be supervised by correctional
     officers when they are on a zone. They are checked for contraband when entering and
     exiting a zone. Floor walkers perform very valuable functions at MSP in segregation
     housing units. They improve inmate quality of life, clean common areas outside cells,
     and, importantly, they aid in the prevention of inmate suicides.

 •   Clean Facilities – Following the outbreak of COVID-19, MDOC thoroughly deep cleaned
     and sanitized all areas of MSP and has continued to do so on a regular basis. Inmates are
     provided adequate amounts of cleaning supplies such that they can clean their own cells.
     MSP uses PortionPac materials, which are state of the art cleaning chemicals that are
     designed exclusively for the correctional industry. These materials are non-toxic and are
     adequate for cleaning of MSP.

 •   Rodents and Insects – There is no visible rodent or insect infestation at MSP. While
     rodents and insects can be expected in rural areas such as the area surrounding MSP,
     MDOC employs a licensed pest control applicator who provides pest control services at

                                               7
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 8 of 76 PageID #: 5223




     MSP three days a week. MSP was treated for pests as recently as July 10, 2020. I have
     personally never seen a rodent in an inmate housing area at MSP.

 •   Inmate Hygiene – Inmates are currently being provided adequate soap, towels,
     toothbrushes, toothpaste, combs, brushes, and safety shaving razors. Inmates are provided
     three sets of clothes every six months, not one set of clothes as Plaintiffs’ experts allege.
     A major cause of inmates’ complaints of not having sufficient clothes is that they
     intentionally destroy their own clothing. Numerous sets of clothing were found in the
     plumbing system where inmates had flushed items down their toilets. See Photographs
     attached as Exhibit C. Nonetheless, all inmates at Unit 29 have received a new issuance
     of clothing within the last two months.

 •   Laundry – MSP’s current policies prohibit inmates from washing their laundry in sinks or
     toilets. Again, issues with laundry often arise from inmate destruction of their own
     clothes. MSP has a central laundry with two very large industrial sized washers and
     dryers that adequately supplies MSP with clean laundry and linens. In addition, MDOC
     recently purchased three additional industrial washers and three additional dryers for
     MSP, which should be arriving soon to add additional laundry resources.

 •   Sinks, Showers, and Toilets – Repair and improvement of sinks, showers, and toilets,
     most of which are intentionally damaged by inmates, have been a major focus of
     MDOC’s continued, ongoing effort to repair and improve all facilities at MSP. MSP’s
     maintenance crews prioritize repair of bathroom facilities. I am not aware of any showers
     at MSP that do not have hot water. MDOC has approved appropriations for a complete
     renovation of all of Unit 30’s bathrooms. Plaintiffs’ assertion that excrement is regularly
     being left in toilets at MSP is misleading. See [Doc. 101-3], Graham, at p. 25 ¶ 6. Ms.
     Graham’s claims and evidence that excrement is left in toilets is based on her
     observations of Unit 32, a unit that is no longer in service and was abandoned prior to the
     experts’ February 2020 inspection. I am not personally aware that excrement is routinely
     left in toilets at MSP in units where inmates are actually housed on a daily basis.

 •   Lights – MDOC has substantially improved the conditions of the lights in MSP. In Unit
     30, MDOC has installed new tamper-resistant lighting that has substantially improved
     visibility. In Unit 29, lights are continually repaired as soon as possible after inmate
     destruction or as routine maintenance, and MDOC has begun installing more, new
     tamper-resistant light fixtures there as well.

 •   Exposed Wires – MDOC has made substantial efforts to repair exposed electrical wiring
     at MSP. Inmates at MSP continually destroy electrical components and lighting fixtures
     and expose wires in an attempt to charge and power unauthorized electronic devices.
     MDOC’s effort to timely repair exposed electrical wiring is continuous and ongoing.

 •   Roof and Window Leaks – Over the last five months, MDOC has made an extensive,
     continued effort to repair the roofs over MSP housing units and to address other areas of
     alleged water intrusion at MSP. Due to that effort, I am not currently aware of any active

                                              8
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 9 of 76 PageID #: 5224




     leaks or areas of water intrusion in any of the areas where Plaintiffs are housed. MDOC
     has chosen professionals to complete further roof improvements, including adding
     additional insulation that will help regulate temperatures within the units.

 •   Mold – Contrary to the allegations that mold is widespread at MSP, I am aware of no test,
     investigation, or study that has confirmed the existence of mold anywhere at MSP.
     During the recent June inspection of MSP, including all of the buildings where named
     Plaintiffs are housed, I did not observe mold.

 •   Food – MSP contracts with an outside vendor to provide food services. Based on my
     review of information from MSP’s food vendor, I understand that inmate meals meet the
     required caloric and nutritional standards. I am not aware of any credible evidence that
     feces, insects, or other foreign objects are found in inmates’ food. Commissioner Cain
     has instituted measures to ensure that the food at MSP is not only adequate but is also
     appetizing. I personally eat the food at MSP. I am aware that during the previous
     lockdowns in some segregation housing units, inmates were fed in their living areas.
     During that time, inmates would sometimes keep their food trays with them in their cells,
     rather than return them. Keeping these trays in their living areas is a health and sanitation
     issue and has been addressed. Dining facilities are being utilized more now, and all trays
     are retrieved immediately after feeding.

 •   Water – I am aware of no recent test that has found the existence of any harmful
     contaminants in MSP’s water system. I am aware that the tests conducted by Plaintiffs’
     experts confirm that there are no contaminants in the water in Units 26, 29, 30, and 32.
     All officers, staff, and administrators drink the same water as the inmates at MSP.

 •   Temperature – There are operational heating units in all housing areas at MSP, but there
     is not an “air conditioning” system in every housing area. That is, there are not air
     cooling systems in every building, including not in Unit 29 and Unit 30. Instead, there are
     operational, industrial-sized fans, which are routinely monitored by MDOC and repaired
     or replaced as necessary. MSP is already installing two additional new industrial-sized
     fans in each zone of Unit 29 and Unit 30.

 •   Showers – Inmates in general population, such as Unit 30, may shower every day, and at
     any time throughout the day. Inmates in segregation units, such as certain zones in Unit
     29, have scheduled times to shower three times per week. Even when inmates were in
     lockdown for their own safety following the disturbance in December 2019 and January
     2020, inmates were provided the opportunity to shower. MSP is not presently on
     lockdown, and inmates are allowed to shower regularly.

 •   Telephone Privileges – Inmates in general population may use the telephone at any time
     throughout the day. Inmates in segregation units are permitted to leave their cell one hour
     per day, and they may use the phone during that period, or such close custody inmates
     may also use the telephone during the daily telephone call period, when officers transport
     a telephone around the unit to allow inmates to talk on the telephone for twenty to thirty

                                               9
 Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 10 of 76 PageID #: 5225




       minutes each. Efforts are being made to repair any damaged or destroyed telephones in
       the segregation units.

   •   Recreation – Inmates at MSP are being provided full recreation privileges as much as
       possible given MSP’s COVID-19 measures. While in lockdown status, some inmate
       recreation was necessarily suspended. I recently instructed the wardens of each housing
       unit to ensure that they are allowing general population inmates to have recreation or
       “yard time” at least one hour per day, every day. I am not aware of any inmates being
       deprived of recreation for significant periods of time and certainly not weeks at a time.

   •   Medical Care – Substantial efforts are made to ensure that inmates are given the
       opportunity to submit sick call forms. I am not aware of credible reports of any inmates
       being forced to resort to lighting fires to get an officer’s attention in a medical
       emergency. My understanding is that MSP inmates’ access to medical care has
       significantly improved over the past five months. MSP’s third-party medical care
       provider has reported that the percentage of inmates making it to their medical
       appointments has increased substantially over the past five months.

   •   Mental Health Care – Prevention of suicides is very important to MDOC and MSP. I am
       not aware of any credible evidence that MDOC officers ignore inmates who threaten
       suicide. I am aware of substantial measures being taken by Commissioner Cain to
       improve MSP’s efforts to prevent suicides, including appointment of chaplains and
       inmate preachers, development of video conferencing for inmate visitation, improvement
       of food services, and creation of clubs and organizations and educational opportunities.

   •   Administrative Remedy Program – I am personally aware that substantial efforts are
       made to ensure that inmates are able to submit Administrative Remedy Program (“APR”)
       grievances. I am also aware of concerted efforts by MSP staff to ensure that the ARP
       process is meaningful and that credible inmate grievances are remedied. Contrary to
       reports from Plaintiffs, the ARP process is not “broken.”

       11.     I have personal knowledge of the locations where inmates are housed in at MSP,

including the named Plaintiffs in this action. Of the 33 named Plaintiffs in this action, only seven

remain at MSP. Of those seven, only four submitted declarations of complaints related to their

conditions of confinement. Those four inmates are housing in Unit 29, Building F; Unit 30,

Building A; and Unit 30, Building B.

       12.     Twenty-four of the 33 named Plaintiffs were transferred from MSP as part of a

random and broad policy of transferring inmates in order to close certain buildings in Unit 29

and improve officer-to-inmate ratios, thereby improving conditions of confinement and

                                                10
 Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 11 of 76 PageID #: 5226




protecting inmates from harm by other inmates. Contrary to statements made by Plaintiffs, no

inmates were transferred because they were named Plaintiffs in this action. That was never even

considered as part of the transfer process.

        13.     I have studied the Plaintiffs’ Supplemental Emergency Motion and Memorandum,

including the 20 specific items of relief requested by Plaintiffs Aric Johnson, Phillip Webster,

Kuriaki Riley, and Justin James. I have personally observed and confirmed the following facts

related to those 20 specific items of relief.

Plaintiff Aric Johnson (Unit 29, Building F, Zone A)

    •   Medical Treatment for High Blood Pressure – On July 6, 2020, I personally confirmed
        with MSP medical personnel, and by reviewing the medical records attached as an exhibit
        to Defendants’ Response, that the allegation that Johnson “has not received timely and
        appropriate follow up care” is incorrect. Johnson had appointments with medical staff for
        his hypertension on March 14, 2019, January 1, 2020, February 5, 2020, March 10, 2020,
        and June 3, 2020, and his next scheduled appointment is in six months. Johnson only
        missed one appointment and that was because he refused medical treatment. Johnson
        signed a document attesting that he refused medical treatment on September 9, 2019.
        Johnson’s blood pressure was checked by registered nurses on February 5, 2020,
        February 10, 2020, February 27, 2020, March 2, 2020, and March 9, 2020.

    •   Blood Pressure Medication – On July 6, 2020, I personally confirmed with MSP medical
        personnel, and by reviewing the medical records attached as an exhibit to Defendants’
        Response, that Johnson has been receiving his blood pressure medication on time.
        Johnson signed a document showing that he received his blood pressure medication on
        January 16, 2020, February 8, 2020, March 23, 2020, April 28, 2020, and June 3, 2020.

    •   Leaks/Roof – On July 6, 2020, I confirmed that there are no known leaks or avenues of
        water intrusion in Johnson’s immediate living area. MDOC has devoted substantial
        resources and has undertaken extensive and continuing measures with respect to the roof
        and other areas of alleged water intrusion in Building F of Unit 29 since the beginning of
        2020. The attached photographs and work orders show that the roof over Johnson’s
        housing area has been repaired and does not leak. See Photographs and Construction
        Maintenance Worksheets for Unit 29, Building F, Zone A attached as Exhibit D. In
        addition, on July 6 as I was reviewing items that had been repaired, I spoke with Mr.
        Johnson about the alleged leaks, and he confirmed that the leaks had already been
        repaired.




                                                11
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 12 of 76 PageID #: 5227




   •   Electrical Wires – On July 6, 2020, I personally observed that there are currently no
       exposed electrical wires in any of the showers in Johnson’s zone. A light fixture in
       Johnson’s bathroom was destroyed, and it has been replaced. The attached photographs
       show that there are no exposed wires in the bathroom of Johnson’s zone. See id.

   •   Toilets, Sinks, and Urinals – On July 6, 2020, I personally observed that all of the toilets,
       sinks, and urinals in Johnson’s zone are in working order. Any toilets, sinks, and urinals
       that were broken have been repaired. See id.

   •   Air Conditioning – There is an operational heating unit in Johnson’s zone, but there is no
       “air conditioning” system. Instead, there are industrial-sized fans, which are routinely
       monitored by MDOC and repaired or replaced as necessary. I personally observed the
       fans in Johnson’s zone on July 6, 2020, and I found them to be in working order. In
       addition, MSP is adding additional fans to each housing unit, including Johnson’s.

Plaintiff Phillip Webster (Unit 29, Building F, Zone A)

   •   Rodents and Insects – On July 6, 2020, I confirmed that there is no visible rodent or
       insect infestation in Webster’s zone. MDOC employs a licensed pest control applicator
       who provides pest control services at MSP three days per week. Webster’s building is
       routinely treated for insects and rodents. See Pest Control Documents attached as Exhibit
       E. I am aware that Webster’s housing unit was treated on July 10, 2020.

   •   Leaks/Roof – On July 6, 2020, I confirmed that there are no known leaks or avenues of
       water intrusion in Webster’s immediate living area. The attached photographs show that
       the roof over Webster’s housing area has been repaired such that it does not leak. Ex. D.

   •   Air Conditioning – There is an operational heating unit in Webster’s zone, but there is no
       “air conditioning” system. Instead, there are industrial-sized fans, which are routinely
       monitored by MDOC and repaired or replaced as necessary. I personally observed the
       fans in Webster’s zone on July 6, 2020, and I found them to be in working order. In
       addition, MSP is adding more fans to Webster’s zone.

   •   Medical Treatment for Eyes – On July 6, 2020, I personally confirmed with MSP medical
       personnel, and by reviewing the medical records attached as an exhibit to Defendants’
       Response, that Webster had an optometry exam on August 29, 2019. Webster was
       prescribed eye wash solution on August 30, 2019. Webster acknowledged receipt of the
       eye wash solution on August 31, 2019.

Plaintiff Kuriaki Riley (Unit 30, Building B, Zone A)

   •   Mental Health Treatment – On July 6, 2020, I personally confirmed with MSP medical
       personnel, and by reviewing the medical records attached as an exhibit to Defendants’
       Response, that Riley’s allegations regarding his mental health treatments are false. Riley
       was admitted to the MSP hospital on May 11, 2020, because he had threatened to hang

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Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 13 of 76 PageID #: 5228




       himself. Riley was discharged on May 14, 2020. He was seen two days later, on May 16,
       2020, by a psychiatric nurse practitioner. On May 18, he was seen again for a “Suicide
       Precautions Follow Up” appointment.

   •   Medical Treatment for High Blood Pressure – I personally confirmed with MSP medical
       personnel on July 6, 2020, and by reviewing the medical records attached as an exhibit to
       Defendants’ Response, that Riley saw a medical doctor for his high blood pressure on
       October 21, 2019, January 9, 2020, and April 7, 2020.

   •   Blood Pressure Medication – I personally confirmed with MSP medical personnel on July
       6, 2020, and by reviewing the medical records attached as an exhibit to Defendants’
       Response, that Riley’s blood pressure medication was refilled on January 14, 2020,
       February 6, 2020, February 25, 2020, March 21, 2020, April 28, 2020, May 14, 2020, and
       May 19, 2020.

   •   Drinking Water – I personally confirmed that the most recent potable water test results
       for MSP show its water is within acceptable standards. To my knowledge, no recent test,
       including those performed by Plaintiffs’ experts, has found the existence of any harmful
       contaminants in MSP’s water system.

Plaintiff Justin James (Unit 30, Building A, Zone B)

   •   Rodents and Insects – I confirmed on July 6, 2020, that there is no visible rodent or insect
       infestation in James’ zone. MDOC employs a licensed pest control applicator who
       provides pest control services at MSP three days a week. Webster’s building was treated
       for insects on March 24, 2020, April 7, 2020, April 21, 2020, May 18, 2020, and June 15,
       2020 as a matter of routine pest control procedures. See Ex. E. James’ zone received a
       pest control treatment on July 10, 2020.

   •   Leaks/Roof – On July 6, 2020, I confirmed that there are no known leaks or avenues of
       water intrusion in James’ immediate living area. I am aware that MDOC has repaired the
       leaks in Unit 30’s roof. See Photographs and Construction Maintenance Worksheets for
       Unit 30 Roof Repairs attached as Exhibit F.

   •   Mold in Shower – I confirmed on July 6, 2020 that there is no mold in the shower in
       James’ zone. I am aware of no test, investigation, or study that has ever confirmed the
       existence of mold anywhere at MSP. MDOC hired an independent contractor to test air
       quality, which includes testing for mold, and he will be on site at MSP on July 15, 2020.

   •   Air Conditioning – There is an operational heating unit in James’ zone, but there is no
       “air conditioning” system. Instead, there are industrial-sized fans, which are routinely
       monitored by MDOC and repaired or replaced as necessary. Additional, new industrial-
       sized fans are being installed James’ zone.

   •   Recreation – Since the institutional lockdown caused by inmate violence was lifted, all
       inmates in James’ zone, including James, have been routinely provided access to outdoor

                                               13
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 14 of 76 PageID #: 5229
               Case: 4:20-cv-00007-DMB-JMV Doc #: COUNT
                                     MDOC DAILY   118-1 Filed:
                                                          SHEET07/13/20 15 of 76 PageID #: 5230
                                    FILLED CORRECTIONAL OFFICER POSITIONS
                                                      June 24, 2020
                        -1^        PT
                                                                                                              billed   Vacancy
                        (State) (Contract)     COT    COI    con    com      COIV        TOTALS    Deficit    Rate      Rate
CMCF

CID                             0          0     0      0       0       0        2            2

SUPT.SUPPORT                    0          0     0      0       0       3        2            5

ADMINISTRATION                  0          0     0      1       0       4       16           21

TRAINING                        0          0     0      0       0       0        0            0

CMCFI                           0          0     14     7       7     11        19           58

CMCF II                         0          0     24     2       7     10        11           54
CMCF III                        1          0     17     8      10     13        16           65
CMCF TOTALS                     1          0     55     18     24     41        66          205
Activated CO s                                                                                0
Min. coverage                                                                               647      442      32%       68%
Adeq. Coverage                                                                              840      635      24%        /b"/o



                                                                                                             CMCF
                           Ft         PT                                                                      Filled   Vacancy
MSP                     (State) (Contract)     COT    COI    coil   com      COIV        TOTALS     Deficit   Rate      Rate

MSPI                            1          1      9     7      17       15      42           92
MSP II                          2          1     16     15     10       10      49          103
SUPT.SUPPORT                    0          1      0     3       0       5       17           26
CID                             0          0     0      0       0       0        1            1
                                3          3     25     25     27     30       109          222
Activated Cos
Min. coverage                                                                               591      369      38%       82%
Adeq. Coverage                                                                              739      517      30%       70%
*Full-tlme equivalent

                                                                                                              MSP
                           PT         PT                                                                      Filled   vacancy
SMCI                    (State) (Contract) COT        COI    coil   com      COIV        TOTALS    Deficit    Rate      Rate
Area 1 & III                    0          0     11     5       3       5       32           56
Area II                         0          0     10     2       8       8       19           47
Central Security                0          0     3      0       0       1       11           15
CID                             0          0     0      1       0       0        1            2
ACA MANAGER                     0          0     0      0       0       0        1            1
SMCI TOtAL^                     0          0    24      8      11    14        64           121
Activated Cos                                                                                 0
Min. coverage                                                                               392      271      31%       80%
Adeq. Coverage                                                                              478      357      25%       75%



                                                                                                              SMCI
                          PT          PT                                                                      Filled   Vacancy
COMM CORR/CID           (State) (Contract)     COT    COI    con    com      COIV        TOTALS    Deficit    Rate      Rate
C/C REG 1                       0          0    15      5       6       2      24            52
C/C REG II                      0          0     7     11       4       1       14           37
C/C REG III                     0          0     12     8       5       2      23            50
CID/MSP.CMCF, SMCI              0          0     0      0       2       0        3            5
cit T6talS                      0          0    34     24     17        5      64          144
Activated CO s
Min. coverage                                                                               193      49       75%       25%
Adeq. coverage                                                                              331     187       44%       56"/o



                                                                                                  COMM CORR
NIDOC TOTALS                    4          3   138     75     79     90       303          692
ACTIVATED CO s TOTAL                                                                         0


                                                                                                           MDOC
♦PART-TIME CONTRACT (MSP)    |                                                       1
6/24/2020            lUpdated                                                  Prepared by:       Personnel Services




                                                              EXHIBIT
                                                                    A
               Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 16 of 76 PageID #: 5231
                                                MDOC DAILY COUNT SHEET
                                   FILLED CORRECTIONAL OFFICER POSITIONS

                                                       June 24, 2020
                          PT          PT                                                                Filled    Vacancy
MSP                     (State)    (Contract)   COT   001    coil   com   COIV       TOTALS   Deficit   Rate       Rate

MSP 1                          1           1      9     7      17    15         42       92
MSP II                         2           1     16    15      10    10         49      103     sdf
SUPT.SUPPORT                   0           1      0     3       0     5         17       26
CID                            0           0      0     0       0     0         1         1
MSP TOTALS                     3           3     25    25      27    30     109         222
Activated Cos                                                                            0
Min. coverage                                                                                  -222     mm\       #t)IV/0!
Adeq. Coverage                                                                          647    425      34%        66%
*Full-tlme equivalent
   VARIANCE                                                 #REF!         500
         -23                                                #REF!         523                           MSP
*PART-TIME CONTRACT(SMCI/ MSP)
             6/24/2020|Updated                                              Prepared by;      Arleatha Williams
      Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 17 of 76 PageID #: 5232

PARCHMAN BED CAPACITY                                          PARCHMAN TOTAL ON FARM
ADJUSTED BED CAPACITY                                                 ADJUSTED VACANCIES
DATE: Wednesday,June 24,2020                            REPORT SUBMITTED BY: CM L JONES



 ii;r.Unlt 25-     Capacity   Population   Custody                  Vacancies         Reported By
      (X-3381)
                    240          157                                   83       IN    Alexander
    Pre-Release                            Minimum
                                                                                OUT
                                             N/C

 i -Unit 26-                                                                          Reported By
   (x-3030/3032)
                    304          174       Minimum           174       18       IN    Alexander
    A-Building                               N/C                    112/inop
    A-Custody
   Work Facility                           Minimum-
                                            Gomm
                    276         216        Minimum                    60        IN    Alexander
    B-Building                               N/C
    A-Custody                                                                   OUT

   Work Facility                           Minimum-
                                            Comm
                                                                                      Reported By

                    192         190                                             IN    Alexander
  MPIC Workers &                           Minimum
    Unit Support                             N/C                                OUT


                                           Medium

     TOTAL         1012         737                         737       163
                                                                    112/inop
     Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 18 of 76 PageID #: 5233

                     ! Capacity   Custody           Holdings       Assigned     Vacancies         Reported By
  'Unit 29                                                                                          Kennedy
                                               C/O-FV    I HOSP.   Population
   (x-3195)
    A BIdq.                         Min N/C-
                                                                                2-VAC
    (A-Zone)                        Medium
                                                                                5-INOP
                                     Close


     B Zone                                                                     43-VAC      OUT




    B B


    C Bid




   lose Custody

    EB


    FB                              Min N/C-
 Support Workers                    Medium
    G
    A-Zone
Close Confinement
    B -Zone
Protective Custody


    A - Zone
  Close Custody
    B - Zone
  Close Custody




 '' B-'.Zqne '
 Xlose Custody. , /
                                               STEVEN WILBANKS
     A-Zone                           DR            #214806
   Death Row

 B-Zone (TOP)                         DR
   Death Row

B-Zone (bottom)
                                     Close
  Close Conf.
B-Zone (bottom)
                                    Close
        HR
   K Bid
                                     Close


                                     C

    L Bid
    A - Zone                         Close
   Adm. Seg.
    B-Zone
   Close Conf                        Close




   TOTAL
             Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 19 of 76 PageID #: 5234

                              Capacity    Pop.      Custody                                                       Reported By
                                                                                                                  Alexander

                                                                   C/O-FV     HQS p.


             A Bid
                                                    Minimum
     Alcohol & Drugs           216        183
                                                   N/G-Medium

             B Bid
                                                    Minimum
     Alcohol & Drugs           216        207
                                                   N/G-Medium

          CB
          A-Zone
                               108                  Minimum
           School,
       Support Worker                     107         N/G-
       Inmate Construct                             Medium
     Unit Kitchen Worker,
       32 Maintenance

             B-Zone
                                                    Minimum
             School                      101
                               108                 N/G-Medium



             A-Zone
                               108        102       Minimum
             School                                N/G-Medium

             B-Zone
                                                    Minimum
                               108         84
                                                   N/G-Medium



       SUB TOTAL
        -Unit 31-                                                                                           IN
                                                                                                                     Croft
      (X-3391/3394)                                 Minimum                                       8-MED
          GERR./                                      N/G                                75       6-FH      OUT
          Disable                                                                                  1-GS
                                                    Medium
        -Unit 42-                                                                                           IN
                                                                                                                    Foster
         (X-4107)                                                                        42         14
        Transient                                                                                           OUT


          TOTAL               1010

     ; WISP Total             2678
                                          2047;                      1         4       2052        626
     V Capacity
                                                   -OTHER UNITS-
       -Unit 17-
       (Executlon
        Chamber)
       -Unit 32-            Capacity     Pop      Custody          Holdings        Assigned     Vacancies         Reported By
                                                                         HOSP.     Population
                                                              FV

       IJNIT 32A
       W1J_32B

t      UNIT 320
       UNIT 32E
    Totals
              Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 20 of 76 PageID #: 5235
    EXHIBIT
B
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 21 of 76 PageID #: 5236
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 22 of 76 PageID #: 5237




                                    EXHIBIT
                                        C
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 23 of 76 PageID #: 5238
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 24 of 76 PageID #: 5239
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 25 of 76 PageID #: 5240




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Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 29 of 76 PageID #: 5244
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Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 31 of 76 PageID #: 5246
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                Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 36 of 76 PageID #: 5251




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                     Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 37 of 76 PageID #: 5252




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                           Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 38 of 76 PageID #: 5253




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          Accepted By:                                      _~               ~'~~~
          Supervisar:
          Sug~rintende:,t: _____._.




                                                                                                                                                                       CONFIDENTIAL                                                                                                                                           MSPRepairs 000262


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                    Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 39 of 76 PageID #: 5254



                                               MISSISSIPPI DEPARTMENT OF CORRECTIONS
 24-01-01-F1
                                                  CONSTRUCTION MAINTENANCE WORKSHEET
                                                                                                                            N.° - 12870
 Revision 7/01/03




 JOB NO                                                                                                    BLDG #   (2T f
 C.W.C.                                                                                                    LOCATION 1
                                                                                                                    . 0   5,
 OTHER                                      0 CMCF                  \KNISP           ❑ SMCI                REQUESTED BY PiCk 1A--•




 0 CARPENTRY                0 CONSTRUCTION        06ECTRONICS        0 HVAC    0 PEST CONTROL   0 PREVENTIVE        APPROVED BY
 U COMMUNICATIONS           LI ELECTRICAL         0 GROUNDS          0 PAINT   0 PLUMBING       0 WELDING           COST CENTER

                                                                                                                          WORK TYPE

 DATE RECEIVED                    U     DATE START                          DATE COMPLETED      0 -            O    PREVENTIVE         D

 TIME RECEIVED          1               TIME STARTED      1= n              TIME COMPLETED      M'•   46            PREDICTIVE
                                                                                                                    GEN MAINT.
                                                                                                                                       LI
                                                                                                                                       16------
 PRIORITY           E6 2 3              NO. INMATES        c.9              TOTAL MAN HOURS           -7            CONSTRUCTION       0


 DESCRIPTION OF WORK TO BE PERFORMED                                       MATERIAL USED                   QTY       COST EA.        TOTAL


1 n510):i5          EjY:.1. i; jh     4.5                     '--     I:   )4-                             3




 SPECIAL COMMENTS:


  Accepted By:                                •
  Supervisor:
  Superintendent:




                                                                    CONFIDENTIAL                                          MSPRepairs 000733
                                                                                                                          MDOC-Amos 015702
                       Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 40 of 76 PageID #: 5255



                                                MISSISSIPPI DEPARTMENT OF CORRECTIONS
24-01-01-F1
                                                 CONSTRUCTION MAINTENANCE WORKSHEET
                                                                                                                        N°   12872
Revision 7/01103




JOB NO                                                                                              BLDG #     r   f
C.W.C.                                                                                              LOCATION       Ol s,0

OTHER                                        ❑ CMCF                                  SMCI           REQUESTED BY




0 CARPENTRY                 0 CONSTRUCTION       0 ELECTRONICS     D HVAC    0 PEST CONTROL   D PREVENTIVE   APPROVED BY
0 COMMUNICATIONS            0 ELECTRICAL         D GROUNDS         0 PAINT   0 PLUMBING       0 WELDING      COST CENTER.

                                                                                                                       WORK TYPE

DATE RECEIVED 3/ 2 00                       DATE START     .". 4
                                                                        DATE COMPLETED        3              PREVENTIVE            U
                                            TIME STARTED   / 0,0     6) TIME COMPLETED                       PREDICTIVE            CI
TIME RECEIVED
                                                                                                             GEN MAINT.            ni
PRIORITY               E0       3           NO. INMATES    'I           TOTAL MAN HOURS _q___„ ---           CONSTRUCTION          D


DESCRIPTION OF WORK TO BE PERFORMED                                   MATERIAL USED                 QTY      COST EA.         TOTAL

                   .        .           x




SPECIAL COMMENTS:

                                    r
 Accepted By:
 Supervisor:
 Superintendent:



                                                                 CONFIDENTIAL                                          MSPRepairs 000731
                                                                                                                       MDOC-Amos 015700
                        Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 41 of 76 PageID #: 5256




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                                                           CONFIDENTIAL                             MSPRepairs 000261


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                         Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 42 of 76 PageID #: 5257




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                         Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 43 of 76 PageID #: 5258




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                                                               CONFIDENTIAL                                                                                                            MSPRepairs 000274


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                    Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 44 of 76 PageID #: 5259



                                               MISSISSIPPI DEPARTMENT OF CORRECTIONS
 24-01-01-F1
 Revision 7101103                               CONSTRUCTION MAINTENANCE WORKSHEET
                                                                                                                   N2      12871

 JOB NO                                                                                            BLDG # 42/   F
 C.W.C.                                                                                            LOCATION     1n5f,
 OTHER                                      ❑ CMCF               WISP           ❑ SMCI             REQUESTED BY nel-c4.1




 0 CARPENTRY 0 CONSTRUCTION0 ELECTRONICSU HVAC 0 PESTCONTROL U PREVENTIVE APPROVEDBY
               0 ELECTRICAL D GROUNDS 0 PAINTXPLUMBING 0 WELDING COSTCENTER
 0 COMMUNICATIONS
                                                                                                                  WORK TYPE

 DATE RECEIVED               2             DATE START     2 .3          DATE COMPLETED .            D       PREVENTIVE        0
 TIME RECEIVED           g: I,             TIME STARTED g71-/    5      TIME COMPLETED     •                PREDICTIVE        0
                                                                                               i i          GEN MAINT.        8 ----
 PRIORITY           E6   2 3               NO. INMATES    fl            TOTAL MAN HOURS        P-----
                                                                                                  ,..k.
                                                                                                            CONSTRUCTION      D


 DESCRIPTION OF WORK TO BE PERFORMED                                 MATERIAL USED                 QTY      COST EA.       TOTAL


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 SPECIAL COMMENTS:


 Accepted By:                     W
 Supervisor:
 Superintendent:




                                                               CONFIDENTIAL                                         MSPRepairs 000732
                                                                                                                    MDOC-Amos 015701
                     Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 45 of 76 PageID #: 5260


                                                              MSP PEST CONTROL APPLICATIONS
                                                                          (December 2019)

M    D    Y    WO#             Work Location                   Pest                            Application                      Supervisor           Authorized
12    2   19    200304   MPIC KITCHEN            ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           TOI COX ROBINSON
12    2   19    200305   SUP'S KIRCHEN           ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           ROSEMARY PIMPTON
12    2   19    200306   PERSONNEL DEPARTMENT    ROACHES, ANTS, SPIDERS            DEMON WP                           ALBERT FIRST           TRACY ALSUP
      2   19    200307   PAROLE OFFICE           ROACHES, ANTS, SPIDERS            DEMON WP                           ALBERT FIRST           LINDA BELL
12    2   19    200308   RECORD DEPARTMENT       ROACHES, ANTS, SPIDERS            DEMON WP                           ALBERT FIRST           SHRONDA WILLIS
12    2   19    200310   LEGAL DEPARTMENT        ROACHES, ANTS, SPIDERS            DEMON WP                           ALBERT FIRST           NIKI GARDNER
12    2   19    200311   POST OFFICE             ROACHES, ANTS, SPIDERS            DEMON WP                           ALBERT FIRST           MARTAVIOUS DURR
12    2   19    200312   UNIT 42 KITCHEN         ROACHES, ANTS, SPIDERS            DEMON WP                           ALBERT FIRST           A. JONES
12    3   19    200313   SUPT'S RESIDENCE        MICE                              BLUEMAX MINI BLOCKS                ALBERT FIRST           SUPT. MARSHALL TURNER
12    3   19    200314   UNIT 29 KITCHEN         ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           KATABA JORDAN
12    4   19    200315   UNIT 30 KITCHEN         ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           KATRINE JACKSON
12    4   19    200316   UNIT 30-D BUILDING      ROACHES, ANTS, SPIDERS            MAXF. ROACH KILLER BAIT STATIONS   ALBERT FIRST           H. HICKS
12    4   19    200317   UNIT 30-D BUILDING      ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           H. HICKS
12    4   19    200318   AUTO SHOP               MICE                              MOUSE GLUE BOARDS                  ALBERT FIRST           ANTOINETTE NORMAN
12    4   19    200319   UNIT 31 HOUSING         ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           DEBRA CROFT
12    4   19    200320   UNIT 31 KITCHEN         ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           DEBRA CROFT
12    9   19    200321   UNIT 26 KITCHEN         ROACHES, ANTS, SPIDERS            TALSTAR                            ALBERT FIRST           ELLA HOGAN
12    9   19    200322   UNIT 26-B BUILDING      ROACHES, ANTS, SPIDERS            TALSTAR                            ALBERT FIRST           BEATRIC SMITH
12    9   19    200323   UNIT 26-A BUILDING      ROACHES, ANTS, SPIDERS            TALSTAR                            ALBERT FIRST           SHIRLEY BROWN
12    9   19    200324   UNIT 25 KITCHEN         ROACHES, ANTS, SPIDERS            TAURUS                             ALBERT FIRST           YULANDA BELL
12    9   19    200325   UNIT 25 HOUSING         ROACHES, ANTS, SPIDERS            TAURUS                             ALBERT FIRST           YULANDA BELL
12    9   19    200326   UNIT 28 HOUSING         ROACHES, ANTS, SPIDERS            TAURUS                             ALBERT FIRST           HARRY HARRIS
12    9   19    200327   UNIT 28 KITCHEN         ROACHES, ANTS, SPIDERS            TAURUS                             ALBERT FIRST           HARRY HARRIS
12    9   19    200328   UNIT 42 KITCHEN         ROACHES, ANTS, SPIDERS            TAURUS                             ALBERT FIRST           DELOIS NIX
12    9   19    200329   TRAINING BUILDING       ROACHES, ANTS, SPIDERS            TAURUS                             ALBERT FIRST           BEVERLY COX
12    9   19    200330   TRAINING BUILDING       MICE                              MOUSE GLUE BOARDS                  ALBERT FIRST           BEVERLY COX
12    9   19    200331   FIRING RANGE            MICE                              MOUSE GLUE BOARDS                  ALBERT FIRST           KENNY SCOTT
12    9   19    200332   FIRING RANGE            RATS                              MAXF. MINI BLUE BLOCKS             ALBERT FIRST           KENNY SCOTT
12   10   19    200333   WELLNESS CENTER         ROACHES, ANTS, SPIDERS            TALSTAR                            ALBERT FIRST           MICHAEL WEEKS
12   10   19    200334   VOC-TECH SCHOOL SHOP    ROACHES, ANTS, SPIDERS            TALSTAR                            ALBERT FIRST           H. KEYS
12   10   19    200335   VOC-TECH KITCHEN        ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           DAVID HDLEY
12   10   19    200336   MPIC TEXTILE            ROACHES, ANTS, SPIDERS            TALSTAR                            ALBERT FIRST           C. MOSLEY
12   10   19    200337   TELECOMMUNICATION       ROACHES, ANTS, SPIDERS            TALSTAR                            ALBERT FIRST           HAROLD MITCHELL
12   10   19    200338   UNIT 30 KITCHEN         ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           MICHAEL NONEYCUTT
12   10   19    200339   UNIT 29 KITCHEN         ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           M. MINTON
12   10   19    200340   VISITATION DEPARTMENT   ROACHES, ANTS, SPIDERS            TALSTAR                            ALBERT FIRST           CRYSTAL GODDEN
12   11   19    200341   MPIC KITCHEN            ROACHES, ANTS, SPIDERS            TALSTAR                            ALBERT FIRST           KEVIN GAMBLE
12   11   19    200342   GROUNDS UPKEP           ROACHES, ANTS, SPIDERS            TALSTAR                            ALBERT FIRST           ANNETTE RATLIFF
12   11   19    200343   K-9(OFFICES&BARNS)      ROACHES, ANTS, SPIDERS            TALSTAR                            ALBERT FIRST           LEATHER WILLIAMS
12   16   19    200344   UNIT 30 ABE             ROACHES, ANTS, SPIDERS            ONSLAUGHT FAST CAP                 ALBERT FIRST           GLORIA ROBINSON
12   16   19    200345   UNIT 30-A BUILDING      ROACHES, ANTS, SPIDERS            ONSLAUGHT FAST CAP                 ALBERT FIRST           VICTORIA ECKFORD
12   16   19    200346   UNIT 30-B BUILDING      ROACHES, ANTS, SPIDERS            ONSLAUGHT FAST CAP                 ALBERT FIRST           EDDIE NORRIS
12   16   19    200347   UNIT 30 LIBRARY         ROACHES, ANTS, SPIDERS            ONSLAUGHT FAST CAP                 ALBERT FIRST           MELINDA BUCKNER
12   16   19    200348   UNIT 30 KITCHEN         ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           JACUQUIN WRIGHT
12   16   19    200349   UNIT 30-C BUILDING      ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           JACUQUIN WRIGHT
12   16   19    200350   UNIT 30-D BUILDING      ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           SHYLA DAVIS
12   17   19    200351   UNIT 25 KITCHEN         ROACHES, ANTS, SPIDERS            KONTROL 4-4                        ALBERT FIRST           SHIRLEY MILLER
12   17   19    200352   UNIT 42 KITCHEN         ROACHES, ANTS, SPIDERS            ONSLAUGHT FAST CAP                 ALBERT FIRST           J.D. STALLINGS
12   17   19    200353   UNIT 28 KITCHEN         ROACHES, ANTS, SPIDERS            ONSLAUGHT FAST CAP                 ALBERT FIRST           CADERRICK SMITH


                                                                               EXHIBIT
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                     Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 46 of 76 PageID #: 5261


                                                            MSP PEST CONTROL APPLICATIONS
                                                                        (December 2019)

M    D    Y    WO#             Work Location                 Pest                           Application             Supervisor           Authorized
12   17   19    200354   UNIT 29 KITCHEN       ROACHES, ANTS, SPIDERS            KONTROL 4-4              ALBERT FIRST           SUPERVISOR MINTON
12   17   19    200355   CID                   ROACHES, ANTS, SPIDERS            ONSLAUGHT FAST CAP       ALBERT FIRST           ARLISA MARTIN
12   18   19    200356   RECORD DEPARTMENT     SPIDERS                           ONSLAUGHT FAST CAP       ALBERT FIRST           JASMINE TAYLOR
12   23   19    200357   UNIT 29-A BUILDING    ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           CHARLES TOWNSEND
12   23   19    200358   UNIT 26-B BUILDING    ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           PARKESHE KENNEDY
12   23   19    200359   UNIT 29-C BUILDING    ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           LINDA PRICE
12   23   19    200360   UNIT 29-D BUILDING    ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           LASHUNDRA MCBRIDE
12   23   19    200361   UNIT 29-E BUILDING    ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           JASMINE WATTS
12   23   19    200362   UNIT 29-F BUILDING    ROACHES, ANTS, SPIDERS            TAURUS                   ALBERT FIRST           MARTHA HUNTER
12   23   19    200363   UNIT29-G BUILDING     ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           BETTY POWELL
12   23   19    200364   UNIT 29-H BUILDING    ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           LAWANDA MCASKILL
12   23   19    200365   UNIT 29-I BUILDING    ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           LEETIA REDDMAN
12   23   19    200366   UNIT 29-J BUILDING    ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           OFC. MAGEE
12   23   19    200367   UNIT 29-K BUILDING    ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           J. MEEKS
12   23   19    200368   UNIT 29-L BUILDING    ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           YVONNE EPPS
12   24   19    200369   UNIT 30-KITCHEN       ROACHES, ANTS, SPIDERS            KONTROL 4-4              ALBERT FIRST           KATHERINE JACKSON
12   24   19    200370   UNIT 29 KITCHEN       ROACHES, ANTS, SPIDERS            KONTROL 4-4              ALBERT FIRST           SUPERVISOR MINTON
12   24   19    200371   UNIT 26 KITCHEN       ROACHES, ANTS, SPIDERS            TAURUS                   ALBERT FIRST           M.FOSTER
12   24   19    200372   UNIT 25 KITCHEN       ROACHES, ANTS, SPIDERS            TAURUS                   ALBERT FIRST           YULONDA BELL
12   24   19    200373   UNIT 28 KITCHEN       ROACHES, ANTS, SPIDERS            KONTROL 4-4              ALBERT FIRST           GARY DAVIS
12   24   19    200374   UNIT 42 KITCHEN       ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           DELOIS NIX
12   26   19    200375   PRE-RELEARSE          SNAKES                            SNAKE-A WAY              ALBERT FIRST           MIRRINDA FRISON
12   26   19    200376   PRE-RELEARSE          MICE                              MOUSE GLUE BOARDS        ALBERT FIRST           MIRRINDA FRISON
12   30   19    200377   UNIT 26 KITCHEN       ROACHES, ANTS, SPIDERS            KONTROL 4-4              ALBERT FIRST           WANDA MILLER
12   30   19    200378   UNIT 25 KITCHEN       ROACHES, ANTS, SPIDERS            TALSTAR                  ALBERT FIRST           SHIRLEY MILLER
12   30   19    200379   UNIT 42 KITCHEN       ROACHES, ANTS , SIDERS            TALSTAR                  ALBERT FIRST           PATRICIA JONES
12   30   19    200380   UNIT 28 KITCHEN       ROACHES, ANTS , SIDERS            TALSTAR                  ALBERT FIRST           CORDERIAL SMITH
12   30   19    200381   UNIT 29 KITCHEN       ROACHES, ANTS , SIDERS            KONTROL 4-4              ALBERT FIRST           RONJA JOHNSON
12   31   19    200382   UNIT 30 KITCHEN       ROACHES, ANTS , SIDERS            KONTROL 4-4              ALBERT FIRST           MAEOLA RASH
              Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 47 of 76 PageID #: 5262


                                                 MSP PEST CONTROL APPLICATIONS
                                                              (January 2020)

M   D    Y     WO#              Work Location                Pest                      Application              Supervisor           Authorized
1   6    20     200382   MPAE                    ROACHES, ANTS, SPIDERS         KONTROL 4-4                 ALBERT FIRST     JANET EPPS
1   6    20     200383   MPAE TEST KITCHEN       ROACHES, ANTS, SPIDERS         DEMON WP                    ALBERT FIRST     JANET EPPS
1   6    20     200384   ARCHIVES                ROACHES, ANTS, SPIDERS         DEMON WP                    ALBERT FIRST     EUGENE THOMAS
1   6    20     200385   UNIT 29 KITCHEN         ROACHES, ANTS, SPIDERS         TENGARD                     ALBERT FIRST     KATABA JORDAN
1   6    20     200386   UNIT 28 KITCHEN         ROACHES, ANTS, SPIDERS         DEMON WP                    ALBERT FIRST     HARRY HARRIS
1   6    20     200387   UNIT 42 KITCHEN         ROACHES, ANTS, SPIDERS         DEMON WP                    ALBERT FIRST     DELOIS NIX
1   6    20     200388   UNIT 28 HOUSINGS        ROACHES, ANTS, SPIDERS         DEMON WP                    ALBERT FIRST     HARRY HARRIS
1   7    20     200389   POST OFFICE             ROACHES, ANTS, SPIDERS         TAURUS                      ALBERT FIRST     LOTTIE JOHNSON
1   7    20     200390   LEGAL DEPARTMENT        ROACHES, ANTS, SPIDERS         TAURUS                      ALBERT FIRST     NIKKI GARDNER
1   7    20     200391   SUP'S KITCHEN           ROACHES, ANTS, SPIDERS         TAURUS                      ALBERT FIRST     ROGER DAVIS
1   7    20     200392   TELECOMMUNICATION       ROACHES, ANTS, SPIDERS         TAURUS                      ALBERT FIRST     SHARONDA DAVIS
1   7    20     200393   HOUSE #75               MICE                           MOUSE GLUE BOARDS           ALBERT FIRST     MARTANESHA HALL
1   7    20     200394   MSP GATE 1              ROACHES, ANTS, SPIDERS         TAURUS                      ALBERT FIRST     VICTORIA GRANDERSON
1   7    20     200395   RECORD DEPARTMENT       ROACHES, ANTS, SPIDERS         TAURUS                      ALBERT FIRST     TRINA BURRIS
1   7    20     200396   PAROLE OFFICE           ROACHES, ANTS, SPIDERS         TAURUS                      ALBERT FIRST     LINDA BELL
1   7    20     200397   PSYCH DEPARTMENT        ROACHES, ANTS, SPIDERS         TAURUS                      ALBERT FIRST     M. JONES
1   7    20     200398   PERSONNEL DEPARTMENT    ROACHES, ANTS, SPIDERS         TAURUS                      ALBERT FIRST     ARLEATHA WILLIAMS
1   8    20     200399   UNIT 26-A BUILDING      ROACHES, ANTS, SPIDERS         TENGARD                     ALBERT FIRST     ISIAH POINTER
1   8    20     200400   UNIT 26-B BUILDING      ROACHES, ANTS, SPIDERS         TENGARD                     ALBERT FIRST     TORI WASHINGTON
1   8    20     200401   UNIT 25 KITCHEN         ROACHES, ANTS, SPIDERS         TAURUS                      ALBERT FIRST     PEGGY LARRY
1   8    20     200402   UNIT 25 HOUSINGS        ROACHES, ANTS, SPIDERS         TAURUS                      ALBERT FIRST     PEGGY LARRY
1   8    20     200403   UNIT 25                 MICE                           MOUSE GLUE BOARDS           ALBERT FIRST     PEGGY LARRY
1   8    20     200404   UNIT 26 KITCHEN         ROACHES, ANTS, SPIDERS         TENGARD                     ALBERT FIRST     WANDA MILLER
1   8    20     200405   MPIC KITCHEN            ROACHES, ANTS, SPIDERS         TENGARD                     ALBERT FIRST     KEVIN GAMBLE
1   8    20     200406   UNIT 30 KITCHEN         ROACHES, ANTS, SPIDERS         TENGARD                     ALBERT FIRST     MICHAEL HONEYCUTT
1   13   20     200407   VOC-TECH KITCHEN        ROACHES, ANTS, SPIDERS         TENGARD                     ALBERT FIRST     DAVID HADLEY
1   13   20     200408   UNIT 31 KITCHEN         ROACHES, ANTS, SPIDERS         TENGARD                     ALBERT FIRST     ISIAH POINTER
1   13   20     200409   UNIT 31                 MICE                           MOUSE GLUE BOARDS           ALBERT FIRST     ISIAH POINTER
1   13   20     200410   UNIT 31 HOUSINGS        ROACHES, ANTS, SPIDERS         ROACHES, ANTS,SPIDERS       ALBERT FIRST     ISIAH POINTER
1   13   20     200411   MPIC TEXTILE            ROACHES, ANTS, SPIDERS         TENGARD                     ALBERT FIRST     JASMINE WATTS
1   13   20     200412   VISITATION DEPARTMENT   ROACHES, ANTS, SPIDERS         TENGARD                     ALBERT FIRST     CRYSTAL GOODEN
1   14   20     200413   UNIT 29 KITCHEN         ROACHES, ANTS, SPIDERS         TALSTAR                     ALBERT FIRST     KATABA JORDAN
1   14   20     200414   UNIT 29 KITCHEN         MICE                           MOUSE GLUE BOARDS           ALBERT FIRST     KATABA JORDAN
1   14   20     200415   UNIT 25 KITCHEN         ROACHES, ANTS, SPIDERS         KONTROL 4-4                 ALBERT FIRST     PEGGY LARRY
1   14   20     200416   UNIT 28 KITCHEN         ROACHES, ANTS, SPIDERS         KONTROL 4-4                 ALBERT FIRST     C. SMITH
1   14   20     200417   UNIT 28                 MICE                           MOUSE GLUE BOARDS           ALBERT FIRST     C. SMITH
1   14   20     200418   UNIT 42 KITCHEN         ROACHES, ANTS, SPIDERS         KONTROL 4-4                 ALBERT FIRST     TIARA PENNINGTON
1   14   20     200419   UNIT 42                 ROACHES                        MAXFORCE ROACH BAIT GEL     ALBERT FIRST     WILLIE KNIGHTEN
1   14   20     200420   UNIT 42                 ROACHES, ANTS, SPIDERS         KONTROL 4-4                 ALBERT FIRST     WILLIE KNIGHTEN
1   14   20     200421   UNIT 42                 ROACHES                        MAXF. ROACH BAIT STATIONS   ALBERT FIRST     WILLIE KNIGHTEN
1   14   20     200422   UNIT 30                 ROACHES, ANTS, SPIDERS, RATS   MAXF. MINI BLUE BLOCKS      ALBERT FIRST     MARY WILLIAMS
1   15   20     200423   UNIT 26                 ROACHES, ANTS, SPIDERS         KONTROL 4-4                 ALBERT FIRST     PATRICIA THREADGILL
1   15   20     200424   ADMIN. BUILDING         BEES                           DEMON MAX                   ALBERT FIRST     ANNETTE RATLIFF
1   15   20     200425   SUPT'S RESIDENCE        RATS                           MAXF. MINI BLUE BLOCKS      ALBERT FIRST     ALBERT FIRST
1   21   20     200426   UNIT 25 KITCHEN         ROACHES, ANTS, SPIDERS         TENGARD                     ALBERT FIRST     YULONDA BELL
1   21   20     200427   UNIT 26 KITCHEN         ROACHES, ANTS, SPIDERS         TENGARD                     ALBERT FIRST     ELLA HOGAN
              Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 48 of 76 PageID #: 5263


                                                     MSP PEST CONTROL APPLICATIONS
                                                                  (January 2020)

M   D    Y     WO#             Work Location                       Pest                   Application            Supervisor           Authorized
1   21   20     200428   UNIT 26                     MICE                          MOUSE GLUE BOARDS         ALBERT FIRST     ELLA HOGAN
1   21   20     200429   UNIT 42 KITCHEN             ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP        ALBERT FIRST     DELOIS NIX
1   21   20     200430   UNIT 28 KITCHEN             ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP        ALBERT FIRST     HARRY HARRIS
1   22   20     200431   CENTRAL WAREHOUSE           ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP        ALBERT FIRST     SHEBA CHANDLER
1   22   20     200432   UNIT 30-A BUILDING          ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP        ALBERT FIRST     GLORIA ROBINSON
1   22   20     200433   UNIT 30-B BUILDING          ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP        ALBERT FIRST     MICHELLE HORN
1   22   20     200434   UNIT 30-C BUILDING          ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP        ALBERT FIRST     MARCINE FOSTER
1   22   20     200435   UNIT 30 KITCHEN             ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP        ALBERT FIRST     SUPERVISOR MINTON
1   22   20     200436   UNIT 30-D BUILDING          ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP        ALBERT FIRST     VICTORIA ECKFORD
1   22   20     200437   UNIT 30 ADMIN.              ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP        ALBERT FIRST     LETHA TOWNSEND
1   23   20     200437   UNIT 29 KITCHEN             ROACHES, ANTS, SPIDERS        KONTROL 4-4               ALBERT FIRST     JOHN MURRY
1   23   20     200438   PROPERTY/CANTEEN/ILAP/ARP   ROACHES, ANTS, SPIDERS        TAURUS                    ALBERT FIRST     DAVID COLLINS
1   28   20     200439   UNIT 29-A BUILDING          ROACHES, ANTS, SPIDERS        TAURUS                    ALBERT FIRST     ANNIE TELLIS
1   28   20     200440   UNIT 29-B BUILDING          ROACHES, ANTS, SPIDERS        TAURUS                    ALBERT FIRST     JACQUELINE CANNON
1   28   20     200441   UNIT 29-F BUILDING          ROACHES, ANTS, SPIDERS        TAURUS                    ALBERT FIRST     DEBBIE BEASLEY
1   28   20     200442   UNIT 29-G BUILDING          RATS, ANTS, ROACHES           KONTROL 4-4/GLUE BOARDS   ALBERT FIRST     JENNIFER MCCLINTON
1   28   20     200443   UNIT 29-H BUILDING          ROACHES, ANTS, SPIDERS        KONTROL 4-4               ALBERT FIRST     A. THURMOND
1   28   20     200444   UNIT 29-I BUILDING          ROACHES, ANTS, SPIDERS        TAURUS                    ALBERT FIRST     GLORIA JORDAN
1   28   20     200445   UNIT 29-J BUILDING          ROACHES, ANTS, SPIDERS        KONTROL 4-4               ALBERT FIRST     JUANITA SIMMON
1   28   20     200446   UNIT 29-K BUILDING          ROACHES, ANTS, SPIDERS        TAURUS                    ALBERT FIRST     JESSICA PICKETT
1   28   20     200447   UNIT 29-L BUILDING          ROACHES, ANTS, SPIDERS        TAURUS                    ALBERT FIRST     YVONNE EPPS
1   28   20     200448   UNIT 29 KITCHEN             ROACHES, ANTS, SPIDERS        KONTROL 4-4               ALBERT FIRST     TOMMY ADAMS
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              Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 49 of 76 PageID #: 5264


                                                   MSP PEST CONTROL APPLICATIONS
                                                             (February 2020)

M   D    Y     WO#             Work Location                      Pest              Application          Supervisor         Authorized
2    3   20     200449   UNIT 42 KITCHEN             ROACHES, ANTS, SPIDERS    KONTROL 4-4           ALBERT FIRST     DELOIS NIX
2    3   20     200450   UNIT 30                     ROACHES, ANTS, SPIDERS    KONTROL 4-4           ALBERT FIRST     GLORIA ROBINSON
2    3   20     200451   SPIRITUAL LIFE CENTER       MICE                      MOUSE GLUE BOARDS     ALBERT FIRST     CHAPLAIN HAMMON
2    3   20     200452   SPIRITUAL LIFE CENTER       RATS                      BLUEMAX MINI BLOCKS   ALBERT FIRST     CHAPLAIN HAMMON
2    3   20     200453   UNIT 28 KITCHEN             ROACHES, ANTS, SPIDERS    DEMON MAX             ALBERT FIRST     HARRY HARRIS
2    3   20     200454   UNIT 28 HOUSING             ROACHES, ANTS, SPIDERS    DEMON MAX             ALBERT FIRST     HARRY HARRIS
2    3   20     200455   UNIT 26                     MICE                      MOUSE GLUE BOARDS     ALBERT FIRST     TAMEKA HUNTER
2    3   20     200456   UNIT 26                     MICE                      REX MINI TRAPS        ALBERT FIRST     TAMEKA HUNTER
2    3   20     200557   UNIT 28                     MICE                      MOUSE GLUE BOARDS     ALBERT FIRST     HARRY HARRIS
2    3   20     200458   UNIT 28                     MICE                      REX MINI TRAPS        ALBERT FIRST     HARRY HARRIS
2    3   20     200459   MPAE KITCHEN                ROACHES, ANTS, SPIDERS    TALSTAR               ALBERT FIRST     JANET EPPS
2    3   20     200460   MPAE ADMINISTRATION         ROACHES, ANTS, SPIDERS    TALSTAR               ALBERT FIRST     JANET EPPS
2    3   20     200461   UNIT 26-B BUILDING          ROACHES, ANTS, SPIDERS    TALSTAR               ALBERT FIRST     BEATRICE SMITH
2    3   20     200462   UNIT 26 VISITATION          ROACHES, ANTS, SPIDERS    TALSTAR               ALBERT FIRST     AQUILLA MCCRAY
2    3   20     200463   UNIT 26-A BUILDING          ROACHES, ANTS, SPIDERS    TALSTAR               ALBERT FIRST     SHIRLEY BROWN
2    3   20     200464   UNIT 26 KITCHEN             ROACHES, ANTS, SPIDERS    TALSTAR               ALBERT FIRST     AQUILLA MCCRAY
2    3   20     200465   UNIT 25 HOUSING             ROACHES, ANTS, SPIDERS    TALSTAR               ALBERT FIRST     YULANDA BELL
2    3   20     200466   UNIT 25 KITCHEN             ROACHES, ANTS, SPIDERS    TALSTAR               ALBERT FIRST     YULANDA BELL
2    4   20     200467   POST OFFICE                 ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     LATRICE EDWARDS
2    4   20     200468   PERSONNEL DEPARTMENT        ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     TRACY ALSUP
2    4   20     200469   PSYCH DEPARTMENT            ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     MELODY JOHNS
2    4   20     200470   ADMINISTRATION BUILDING     ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     SHIRLEY REDDICS
2    4   20     200471   ACA OFFICE                  ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     MICHELLE FEDRICK
2    4   20     200472   PAROLE OFFICE               ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     TRINA BURRIS
2    4   20     200473   RECORD DEPARTMENT           ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     WANDA CARTWRIGHT
2    4   20     200474   UNIT 31                     MICE                      MOUSE GLUE BOARDS     ALBERT FIRST     DEBRA CROFT
2    4   20     200475   UNIT 31 KITCHEN             ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     DEBRA CROFT
2    4   20     200476   UNIT 31 HOUSING             MICE                      MOUSE GLUE BOARDS     ALBERT FIRST     DEBRA CROFT
2    4   20     200477   UNIT 30 KITCHEN             ROACHES, ANTS, SPIDERS    KONTROL 4-4           ALBERT FIRST     JOSILETTE DAVIS
2    4   20     200478   UNIT 29 KITCHEN             ROACHES, ANTS, SPIDERS    DEMON MAX             ALBERT FIRST     KATABA JORDAN
2    4   20     200479   FIRE DEPARTMENT             ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     MAURICE COLEMAN
2    4   20     200480   FIRE DEPARTMENT             MICE                      MOUSE GLUE BOARDS     ALBERT FIRST     MAURICE COLEMAN
2    4   20     200481   TRAINING BUILDING           ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     BEVERLY COX
2    4   20     200482   LEGAL DEPARTMENT            ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     JUANITA JONES
2    5   20     200483   VOC-TECH KITCHEN            ROACHES, ANTS, SPIDERS    MICE                  ALBERT FIRST     DAVID HADLEY
2    5   20     200484   MPIC TEXTILE                ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     CHRISTOPHER MOSBY
2    5   20     200485   MPIC TEXTILE                MICE                      MOUSE GLUE BOARDS     ALBERT FIRST     CHRISTOPHER MOSBY
2    5   20     200486   VOC-TECH                    MICE                      MOUSE GLUE BOARDS     ALBERT FIRST     DEBRA DAVENPORT
2    5   20     200487   VOC-TECH KITCHEN            ROACHES, ANTS, SPIDERS    DEMON MAX             ALBERT FIRST     DAVID HADLEY
2    5   20     200488   MSP GATE I                  ROACHES, ANTS, SPIDERS    DEMON MAX             ALBERT FIRST     MARY ROBINSON
2   10   20     200489   UNIT 29 KITCHEN             ROACHES, ANTS, SPIDERS    BIFEN                 ALBERT FIRST     KATABA JORDAN
2   10   20     200490   UNIT 29-F BUILDING          MICE                      MICE                  ALBERT FIRST     DEBBIE BEASLEY
               Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 50 of 76 PageID #: 5265


                                                  MSP PEST CONTROL APPLICATIONS
                                                            (February 2020)

M   D    Y      WO#             Work Location                    Pest              Application         Supervisor         Authorized
2   10   20      200491   UNIT 29-F BUILDING        ROACHES, ANTS, SPIDERS    BIFEN                ALBERT FIRST     DEBBIE BEASLEY
2   10   20      200492   UNIT 29-F BUILDING        ROACHES, ANTS, SPIDERS    BIFEN                ALBERT FIRST     CRYSTAL HARVELL
2   10   20      200493   UNIT 29-B BUILDING        MICE                      MINI REX TRAPS       ALBERT FIRST     CRYSTAL HARVELL
2   10   20      200494   UNIT 29-A BUILDING        ROACHES, ANTS, SPIDERS    BIFEN                ALBERT FIRST     ANNIE TELLIS
2   10   20      200495   UNIT 29-A BUILDING        MICE                      MINI REX TRAPS       ALBERT FIRST     ANNIE TELLIS
2   11   20      200496   UNIT 29-H BUILDING        ROACHES, ANTS, SPIDERS    BIFEN                ALBERT FIRST     SHIRLEY PUGH
2   11   20      200497   UNIT 29-H BUILDING        MICE                      MOUSE GLUE BOARDS    ALBERT FIRST     SHIRLEY PUGH
2   11   20      200498   UNIT 29-I BUILDING        MICE                      MOUSE GLUE BOARDS    ALBERT FIRST     GLORIA JORDAN
2   11   20      200499   UNIT 26 KITCHEN           ROACHES, ANTS, SPIDERS    BIFEN                ALBERT FIRST     WANDA MILLER
2   11   20      200500   UNIT 29-L BUILDING        MICE                      MOUSE GLUE BOARDS    ALBERT FIRST     JESSSICA PICKETT
2   11   20      200501   UNIT 29-L BUILDING        ROACHES, ANTS, SPIDERS    BIFEN                ALBERT FIRST     JESSSICA PICKETT
2   11   20      200502   UNIT 29-K BUILDING        ROACHES, ANTS, SPIDERS    BIFEN                ALBERT FIRST     JACQULINE CANNON
2   11   20      200503   UNIT 29-K BUILDING        MICE                      MOUSE GLUE BOARDS    ALBERT FIRST     JACQULINE CANNON
2   11   20      200504   UNIT 29- J BUILDING       ROACHES, ANTS, SPIDERS    BIFEN                ALBERT FIRST     O. POLLARD
2   11   20      200505   UNIT 29- J BUILDING       ROACHES, ANTS, SPIDERS    KONTROL 4-4          ALBERT FIRST     GLORIA JORDAN
2   11   20      200506   UNIT 29-G BUILDING        MICE                      MOUSE GLUE BOARDS    ALBERT FIRST     PATRICIA POWELL
2   11   20      200507   UNIT 29-G BUILDING        ROACHES, ANTS, SPIDERS    BIFEN                ALBERT FIRST     PATRICIA POWELL
2   12   20      200508   UNIT 28 KITCHEN           ROACHES, ANTS, SPIDERS    TALSTAR              ALBERT FIRST     HARRY HARRIS
2   12   20      200509   UNIT 28 HOUSING           ROACHES, ANTS, SPIDERS    TALSTAR              ALBERT FIRST     HARRY HARRIS
2   12   20      200510   UNIT 30 KITCHEN           ROACHES, ANTS, SPIDERS    TALSTAR              ALBERT FIRST     KATHERINE JACKSON
2   12   ]20     200511   UNIT 25 KITCHEN           ROACHES, ANTS, SPIDERS    TALSTAR              ALBERT FIRST     YULANDA BELL
2   12   20      200512   UNIT 42 KITCHEN           ROACHES, ANTS, SPIDERS    TALSTAR              ALBERT FIRST     PATRICIA JONES
2   17   20      200513   UNIT 30 KITCHEN           ROACHES, ANTS, SPIDERS    TALSTAR              ALBERT FIRST     KATHERINE JACKSON
2   17   20      200514   UNIT 30-C BUILDING        ROACHES, ANTS, SPIDERS    ONSLAUGHT FAST CAP   ALBERT FIRST     HENRY WOODS
2   17   20      200515   UNIT 30-D BUILDING        ROACHES, ANTS, SPIDERS    ONSLAUGHT FAST CAP   ALBERT FIRST     CHELSEY DOBBS
2   17   20      200516   UNIT 30 CONTROL           ROACHES, ANTS, SPIDERS    ONSLAUGHT FAST CAP   ALBERT FIRST     D. WILSON
2   17   20      200517   UNIT 30 GATE I            ROACHES, ANTS, SPIDERS    ONSLAUGHT FAST CAP   ALBERT FIRST     C. BRADFORD
2   17   20      200518   THE PLACE                 ROACHES, ANTS, SPIDERS    ONSLAUGHT FAST CAP   ALBERT FIRST     PRINCESS LOVE
2   17   20      200519   UNIT 26 KITCHEN           ROACHES, ANTS, SPIDERS    ONSLAUGHT FAST CAP   ALBERT FIRST     AQUILLA MCCRAY
2   17   20      200520   UNIT 25 KITCHEN           ROACHES, ANTS, SPIDERS    ONSLAUGHT FAST CAP   ALBERT FIRST     YULANDA BELL
2   17   20      200521   UNIT 42 KITCHEN           ROACHES, ANTS, SPIDERS    ONSLAUGHT FAST CAP   ALBERT FIRST     PATRICIA JONES
2   17   20      200522   UNIT 28 KITCHEN           ROACHES, ANTS, SPIDERS    ONSLAUGHT FAST CAP   ALBERT FIRST     HARRY HARRIS
2   18   20      200523   GROUNDS UPKEEP            ROACHES, ANTS, SPIDERS    TAURUS               ALBERT FIRST     ANNETTE RATLIFF
2   18   20      200524   VOC-TECH KITCHEN          ROACHES, ANTS, SPIDERS    TAURUS               ALBERT FIRST     DIANE WASHINGTON
2   18   20      200525   POST OFFICE               MICE                      MOUSE GLUE BOARDS    ALBERT FIRST     LOTTIE JOHNSON
2   18   20      200526   POST OFFICE               MICE                      MINI REX TRAPS       ALBERT FIRST     LOTTIE JOHNSON
2   18   20      200527   TELECOMMUNICATION         ROACHES, ANTS, SPIDERS    TAURUS               ALBERT FIRST     SHARONDA GIIBS
2   18   20      200528   VISITATION DEPARTMENT     ROACHES, ANTS, SPIDERS    TAURUS               ALBERT FIRST     CRYSTAL GOODEN
2   18   20      200529   UNIT 29 KITCHEN           ROACHES, ANTS, SPIDERS    ONSLAUGHT FAST CAP   ALBERT FIRST     JASEVOIA MITCHELL
2   18   20      200530   UNIT 29- H                ROACHES, ANTS, SPIDERS    ONSLAUGHT FAST CAP   ALBERT FIRST     CASLIE BROOKS
2   18   20      200531   UNIT 29- H                MICE                      MOUSE GLUE BOARDS    ALBERT FIRST     CASLIE BROOKS
2   19   20      200532   UNIT 32 LAUNDRY           MICE                      MOUSE GLUE BOARDS    ALBERT FIRST     MOSIE THOMPSON
              Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 51 of 76 PageID #: 5266


                                                 MSP PEST CONTROL APPLICATIONS
                                                             (February 2020)

M   D    Y     WO#             Work Location                      Pest              Application           Supervisor         Authorized
2   19   20     200533   UNIT 32 LAUNDRY             MICE                      MINI REX TRAPS         ALBERT FIRST     MOSIE THOMPSON
2   19   20     200534   UNIT 30-B BUILDING          ROACHES, ANTS, SPIDERS    TAURUS                 ALBERT FIRST     MICHELLE HORN
2   19   20     200535   UNIT 30-A BUILDING          ROACHES, ANTS, SPIDERS    TAURUS                 ALBERT FIRST     VIETONE ECKFORD
2   24   20     200536   PROPERTY/CANTEEN /ARP       ROACHES, ANTS, SPIDERS    CYZMIC SC              ALBERT FIRST     KEITH FLEMMON
2   24   20     200537   CENTRAL WAREHOUSE           ROACHES, ANTS, SPIDERS    CYZMIC SC              ALBERT FIRST     STACY JOHNSON
2   24   20     200538   ARCHIVES                    ROACHES, ANTS, SPIDERS    CYZMIC SC              ALBERT FIRST     EUGENE THOMAS
2   24   20     200539   ARCHIVES                    ROACHES, ANTS, SPIDERS    TALSTAR                ALBERT FIRST     EUGENE THOMAS
2   24   20     200540   UNIT 26 KITCHEN             ROACHES, ANTS, SPIDERS    CYZMIC SC              ALBERT FIRST     WANDA MILLER
2   24   20     200541   UNIT 25 KITCHEN             ROACHES, ANTS, SPIDERS    CYZMIC SC              ALBERT FIRST     PEGGY LARRY
2   24   20     200542   UNIT 42 KITCHEN             ROACHES, ANTS, SPIDERS    TEMPRID                ALBERT FIRST     STANDREKA MOTEN
2   24   20     200543   UNIT 28 KITCHEN             ROACHES, ANTS, SPIDERS    TEMPRID                ALBERT FIRST     JOHN CARPENTER
2   25   20     200544   UNIT 29 KITCHEN             ROACHES                   MAXF. ROACH GEL BAIT   ALBERT FIRST     TACILLIA BUTLER
2   25   20     200545   VOC-TECH KITCHEN            ROACHES                   MAXF. ROACH GEL BAIT   ALBERT FIRST     DAVID HADLEY
2   25   20     200546   UNIT 30 KITCHEN WAREHOUSE   ROACHES                   MAXF. ROACH GEL BAIT   ALBERT FIRST     KATHERINE JACKSON
2   25   20     200547   UNIT 30 KITCHEN             ROACHES                   MAXF. ROACH GEL BAIT   ALBERT FIRST     MAEOLA RASH
2   25   20     200548   MPIC KITCHEN                ROACHES                   MAXF. ROACH GEL BAIT   ALBERT FIRST     JASMINE WATTS
2   26   20     200549   COLD STORAGE                ROACHES, ANTS, SPIDERS    CYZMIC SC              ALBERT FIRST     CHARLES LAKES
2   26   20     200550   MPAE KITCHEN                ROACHES                   MAXF. ROACH GEL BAIT   ALBERT FIRST     JANET EPPS
              Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 52 of 76 PageID #: 5267


                                                    MSP PEST CONTROL APPLICATIONS
                                                                (March 2020)

M   D    Y     WO#               Work Location                 Pest                       Application      Supervisor          Authorized
3   1    20     200551   UNIT   29-C BUILDING       ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT   FIRST   LAQUITA MEEKS
3   1    20     200552   UNIT   29 ADMINISTRATION   MICE                       MOUSE GLUE               ALBERT   FIRST   LEE SIMON
3   2    20     200553   UNIT   29-G BUILDING       ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT   FIRST   CASHAINA BROOKS
3   2    20     200554   UNIT   26-B BUILDING       ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT   FIRST   JOSILETTE DAVIS
3   2    20     200555   UNIT   26-A BUILDING       ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT   FIRST   SHIRLEY BROWN
3   2    20     200556   UNIT   26 KITCHEN          ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT   FIRST   BEATRICE SMITH
3   2    20     200557   UNIT   25 CONTROL          ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT   FIRST   YULONDA BELL
3   2    20     200558   UNIT   25 HOUSINGS         ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT   FIRST   YULONDA BELL
3   2    20     200559   UNIT 42 KITCHEN            ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT FIRST     SONYA REMBERT
3   2    20     200560   UNIT 28                    MICE                       MOUSE GLUE               ALBERT FIRST     HARRY HARRIS
3   2    20     200561   UNIT 28 HOUSINGS           ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT FIRST     HARRY HARRIS
3   2    20     200562   UNIT 28 KITCHEN            ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT FIRST     HARRY HARRIS
3   3    20     200563   UNIT 29-I BUILDING         MICE                       MOUSE GLUE               ALBERT FIRST     PATRICIA POWELL
3   3    20     200564   UNIT 29 KITCHEN            ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT FIRST     M. WILLIAMS
3   3    20     200565   UNIT 29-G BUILDING         ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT FIRST     PATRICIA EVANS
3   3    20     200566   UNIT 29-I BUILDING         ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT FIRST     JACOBS MEEKS
3   3    20     200567   UNIT 29-J BUILDING         ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT FIRST     WALTER RANDLE
3   3    20     200568   UNIT 29-L BUILDING         ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT FIRST     YVONNE EPPS
3   9    20     200569   THE PLACE                  ROACHES, ANTS, SPIDERS     BIFEN                    ALBERT FIRST     ROSEMARY PIMPTON
3   9    20     200570   UNIT 29-I BUILDING         ROACHES, ANTS, SPIDERS     KONTROL 4-4              ALBERT FIRST     PATRICIA POWELL
3   10   20     200571   VOC-TECH KITCHEN           ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     DAVID HADLEY
3   10   20     200572   UNIT 31 KITCHEN            ROACHES, ANTS, SPIDERS     TAURUS                   ALBERT FIRST     T. ROMERO
3   10   20     200573   UNIT 31 KITCHEN            ROACHES, ANTS, SPIDERS     TAURUS                   ALBERT FIRST     SHIRLEY MILLER
3   10   20     200574   UNIT 29 GATE 1             ROACHES, ANTS, SPIDERS     TAURUS                   ALBERT FIRST     PATRICIA EVANS
3   10   20     200575   UNIT 29 KITCHEN            ROACHES, ANTS, SPIDERS     TAURUS                   ALBERT FIRST     RENITA SWIMS
3   11   20     200576   MAIN MAINTENANCE           ROACHES, ANTS, SPIDERS     TAURUS                   ALBERT FIRST     ALBERT FIRST
3   11   20     200577   MAIN MAINTENANCE           MICE                       MOUSE GLUE               ALBERT FIRST     ALBERT FIRST
3   16   20     200578   GUEST HOUSE                ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     LEONIA ADAMS
3   16   20     200579   PSYCH DEPARTMENT           ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     MELODY JOHNS
3   16   20     200580   PAROLE OFFICE              ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     LINDA BELL
3   16   20     200581   RECORD DEPARTMENT          ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     TRINA BURRIS
3   16   20     200582   LEGAL DEPARTMENT           ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     NIKKI GARDNER
3   16   20     200583   POST OFFICE                ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     LOTTIE JOHNSON
3   16   20     200584   VISITATION                 ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     SHARONDA GIBSON
3   16   20     200585   VISITATION                 ROACHES, ANTS, SPIDERS     TEMPRID                  ALBERT FIRST     RONJA RANDLE
3   16   20     200586   SUPT'S RESIDENCE           RATS                       BLUEMAX MINI BLOCKS      ALBERT FIRST     SUPT. MARSHALL TURNER
3   17   20     200587   UNIT 42 KITCHEN            ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     TEREIA CARR
3   17   20     200588   UNIT 30 KITCHEN            ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     KATHERINE JACKSON
3   17   20     200589   UNIT 29 KITCHEN            ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     LAWANDA MCCASKILL
3   17   20     200590   MPAE                       ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     JANET EPPS
3   17   20     200591   UNIT 26 KITCHEN            ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     PATRICIA THREADGILL
3   17   20     200592   UNIT 25 KITCHEN            ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     YULAONDA BELL
3   18   20     200593   METAL FAB                  ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     TOI COX ROBINSON
3   18   20     200594   VOC-TECH SCHOOL/SHOPS      ROACHES, ANTS, SPIDERS     TALSTAR                  ALBERT FIRST     TRENT FRANKLIN
              Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 53 of 76 PageID #: 5268


                                                     MSP PEST CONTROL APPLICATIONS
                                                                 (March 2020)

M   D    Y     WO#             Work Location                    Pest                      Application      Supervisor        Authorized
3   18   20     200595   VOC-TECH KITCHEN            ROACHES, ANTS, SPIDERS     TALSTAR                 ALBERT FIRST    DAVID HADLEY
3   18   20     200596   PRE-RELEASE                 ROACHES, ANTS, SPIDERS     TALSTAR                 ALBERT FIRST    MIRINDA FRISON
3   23   20     200597   UNIT 42 KITCHEN             ROACHES, ANTS, SPIDERS     TALSTAR                 ALBERT FIRST    LAQUITA CARPENTER
3   23   20     200598   UNIT 28 KITCHEN             ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    CLYDE DAVIS
3   23   20     200599   UNIT 30-A BUILDING          ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    VICTORIA ECKFORD
3   23   20     200600   UNIT 30-B BUILDING          ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    MICHELLE HORN
3   23   20     200601   UNIT 30 KITCHEN             ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    MARY WILLIAMS
3   23   20     200602   UNIT 30-C BUILDING          ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    JACQUELINE WRIGHT
3   23   20     200603   UNIT 30- D BUILDING         ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    TAKILA HAMPTON
3   24   20     200604   UNIT 30 GATE-1              ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    GLORIA ROBINSON
3   24   20     200605   SPIRITUAL LIFE CENTER       ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    CHAPLAIN SABREE
3   24   20     200606   WELLNESS CENTER             ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    MICHAEL WEEKS
3   24   20     200607   MPIC KITCHEN                ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    YOLANDA HAYES
3   24   20     200608   CID                         ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    ARLISA MARTIN
3   24   20     200609   VOC-TECH KITCHEN            ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    DEBRA DAVENPORT
3   24   20     200610   UNIT 29 KITCHEN             ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    ANITA THURMOND
3   24   20     200611   UNIT 26 KITCHEN             ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    WANDA MILLER
3   24   20     200612   UNIT 25 KITCHEN             ROACHES, ANTS, SPIDERS     TAURUS                  ALBERT FIRST    PEGGY LARRY
3   24   20     200613   UNIT 42 BIO-HARZARD SHADE   WASPS                      WASP FREEZE             ALBERT FIRST    LAQUITA CARPENTER
3   24   20     200614   UNIT 42 BIO-HARZARD SHADE   BEES                       KONTROL 4-4             ALBERT FIRST    LAQUITA CARPENTER
3   25   20     200615   UNIT 29-K BUILDING          ROACHES, ANTS, SPIDERS     DEMON MAX               ALBERT FIRST    TAKILA HAMPTON
3   29   20     200616   TELECOMMUNICATION           TERMITES                   TRANSPORT               ALBERT FIRST    HAROLD MITCHELL
3   30   20     200617   UNIT 30 KITCHEN             ROACHES, ANTS, SPIDERS     TENGARD                 ALBERT FIRST    MICHAEL HONEYCUTT
3   30   20     200618   GROUND UPKEEPS              ROACHES, ANTS, SPIDERS     TENGARD                 ALBERT FIRST    ANNETTE RATLIFF
3   30   20     200619   AUTO SHOP                   ROACHES, ANTS, SPIDERS     TENGARD                 ALBERT FIRST    MATVIN LOWE
3   30   20     200620   CANTEEN/PROPERTY            ROACHES, ANTS, SPIDERS     TENGARD                 ALBERT FIRST    KEITH FLEMMONS
3   30   20     200621   CENTRAL WAREHOUSE           ROACHES, ANTS, SPIDERS     TRANSPORT               ALBERT FIRST    STACY JOHNSON
3   30   20     200622   UNIT 26 KITCHEN             ROACHES, ANTS, SPIDERS     TRANSPORT               ALBERT FIRST    BEATRICE SMITH
3   30   20     200623   UNIT 25 KITCHEN             ROACHES, ANTS, SPIDERS     TRANSPORT               ALBERT FIRST    YULAONDA BELL
3   30   20     200624   UNIT 42 KITCHEN             ROACHES, ANTS, SPIDERS     TRANSPORT               ALBERT FIRST    TIARA PENNINGTON
3   30   20     200625   UNIT 28 KITCHEN             ROACHES, ANTS, SPIDERS     TRANSPORT               ALBERT FIRST    HARRY HARRIS
3   30   20     200626   UNIT 29 KITCHEN             ROACHES, ANTS, SPIDERS     TENGARD                 ALBERT FIRST    OFC. FLAGG
3   30   20     200627   UNIT 29-F BUILDING          ROACHES, ANTS, SPIDERS     TENGARD                 ALBERT FIRST    MARTHA HUMTER
3   31   20     200628   ARCHIVES                    ROACHES, ANTS, SPIDERS     TENGARD                 ALBERT FIRST    EUGENE THOMAS
3   31   20     200629   MIPIC METAL FAB KITCHEN     ROACHES, ANTS, SPIDERS     TENGARD                 ALBERT FIRST    KEVIN GAMBLE
3   31   20     200630   VOC-TECH KITCHEN            ROACHES, ANTS, SPIDERS     TENGARD                 ALBERT FIRST    DEBRA DAVENPORT
3   31   20     200631   MPIC TEXTILE                ROACHES, ANTS, SPIDERS     TENGARD                 ALBERT FIRST    JASMINE WATTS
3   31   20     200632   UNIT 29-L BUILDING          ROACHES, ANTS, SPIDERS     TENGARD                 ALBERT FIRST    JASMINE JOHNSON
              Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 54 of 76 PageID #: 5269


                                                      MSP PEST CONTROL APPLICATIONS
                                                                    (April 2020)

M   D    Y    WO#               Work Location                  Pest                          Application       Supervisor          Authorized
4   1    20   200633   UNIT 29-C BUILDING            ROACHES, ANTS, SPIDERS        KONTROL 4-4             ALBERT FIRST     LAQUITA MEEKS
4   1    20   200634   UNIT 29 ADMINISTRATION        MICE                          MOUSE GLUE BOARDS       ALBERT FIRST     LEE SIMON
4   6    20   200635   LEGAL DEPARTMENT              ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     MARTAVIUS DURR
4   6    20   200636   FIRING RANGE                  ROACHES, ANTS, SPIDERS        DEMON MAX               ALBERT FIRST     KENNY SCOTT
4   6    20   200637   TRAINING BUILDING             ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     BEVERLY COX
4   6    20   200638   RECORD DEPARTMENT             ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     SHRONDA WILLIS
4   6    20   200639   PAROLE BOARD                  ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     VIRGINIUS TAYLOR
4   6    20   200640   POST OFFICE                   ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     MARTAVIUS DURR
4   6    20   200641   ACA OFFICE                    ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     MICHELLE FEDRICK
4   6    20   200642   PERSONNEL DEPARTMENT          ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     AMBER EPPS
4   6    20   200643   PSYCH DEPARTMENT              ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     EMMA BROWNLOW
4   6    20   200644   HOUSE #71(WARDEN MORRIS)      ROACHES, ANTS, SPIDERS        BLUEMAX MINI BLOCKS     ALBERT FIRST     TIMOTHY MORRIS
4   6    20   200645   HOUSE #70( GARRIET GRIFFIN)   ROACHES, ANTS, SPIDERS        BLUEMAX MINI BLOCKS     ALBERT FIRST     GARRIET GRIFFIN
4   7    20   200646   VISITATION DEPARTMENT         ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     OFC. RANDLE
4   7    20   200647   TELECOMMUNICATIONS            ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     HAROLD MITCHELL
4   7    20   200648   MPIC TEXTILE                  ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     JASMINE WATTS
4   7    20   200649   VOC-TECH SCHOOL/SHOPS         ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     CHRIS DAVIS
4   7    20   200650   VOC-TECH KITCHEN              ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     CHRIS DAVIS
4   7    20   200651   THE PLACE                     MICE                          MOUSE GLUE BOARDS       ALBERT FIRST     ROSEMARY PIMPTON
4   7    20   200652   THE PLACE                     ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     ROSEMARY PIMPTON
4   7    20   200653   UNIT 32 LAUNDRY               ROACHES, ANTS, SPIDERS        DEMON MAX               ALBERT FIRST     MOSIE THOMPSON
4   7    20   200654   UNIT 26 KITCHEN               ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     WANDA MILLER
4   7    20   200655   UNIT 31 HOUSING               ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     TENIKA ROMERO
4   7    20   200656   UNIT 31 KITCHEN               ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     TENIKA ROMERO
4   7    20   200657   UNIT 30 KITCHEN               ROACHES, ANTS, SPIDERS        KONTROL 4-4             ALBERT FIRST     ELY SMITH
4   8    20   200658   FIRE DEPARTMENT               ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     MAURICE COLEMAN
4   8    20   200659   UNIT 29 KITCHEN               ROACHES, ANTS, SPIDERS        DEMON MAX               ALBERT FIRST     STANLEY FLAGGS
4   8    20   200660   UNIT 29-G BUILDING            ROACHES, ANTS, SPIDERS        DEMON MAX               ALBERT FIRST     MELVIN AMOS
4   8    20   200661   UNIT 25 KITCHEN               ROACHES, ANTS, SPIDERS        D-FENSE                 ALBERT FIRST     YULONDA BELL
4   8    20   200662   UNIT 25 HOUSING               ROACHES, ANTS, SPIDERS        D-FENSE                 ALBERT FIRST     YULONDA BELL
4   8    20   200663   UNIT 28 KITCHEN               ROACHES, ANTS, SPIDERS        D-FENSE                 ALBERT FIRST     HARRY HARRIS
4   13   20   200664   UNIT 42 KITCHEN               ROACHES, ANTS, SPIDERS        D-FENSE                 ALBERT FIRST     TIARA PENNINGTON
4   13   20   200665   UNIT 30 KITCHEN               ROACHES, ANTS, SPIDERS        TAURUS                  ALBERT FIRST     MICHAEL HONEYCUTT
4   13   20   200666   VOC-TECH KITCHEN              ROACHES, ANTS, SPIDERS        TALSTAR                 ALBERT FIRST     DEBRA DAVENPORT
4   13   20   200667   UNIT 29-C BUILDING            ROACHES, ANTS, SPIDERS        TAURUS                  ALBERT FIRST     MARTHA HUNTER
4   13   20   200668   UNIT 29-D BUILDING            ROACHES, ANTS, SPIDERS        TAURUS                  ALBERT FIRST     MARTHA HUNTER
4   13   20   200669   UNIT 29-F BUILDING            MICE                          MOUSE GLUE BOARDS       ALBERT FIRST     MARTHA HUNTER
4   13   20   200670   UNIT 29-F BUILDING            ROACHES, ANTS, SPIDERS        TAURUS                  ALBERT FIRST     MARTHA HUNTER
4   13   20   200671   UNIT KITCHEN                  ROACHES, ANTS, SPIDERS        TAURUS                  ALBERT FIRST     STANLEY FLAGGS
4   13   20   200672   UNIT 28 KITCHEN               ROACHES, ANTS, SPIDERS        TAURUS                  ALBERT FIRST     HARRY HARRIS
4   15   20   200673   UNIT 28 HOUSING               ROACHES, ANTS, SPIDERS        TAURUS                  ALBERT FIRST     HARRY HARRIS
4   15   20   200674   UNIT 26 KITCHEN               ROACHES, ANTS, SPIDERS        TAURUS                  ALBERT FIRST     WANDA MILLER
4   15   20   200675   UNIT 25 KITCHEN               ROACHES, ANTS, SPIDERS        TAURUS                  ALBERT FIRST     PEGGY LARRY
4   15   20   200676   UNIT 42 KITCHEN               ROACHES, ANTS, SPIDERS        TAURUS                  ALBERT FIRST     TIARA PENNINGTON
4   15   20   200677   UNIT 29 KITCHEN               MICE                          MOUSE GLUE BOARDS       ALBERT FIRST     ROBERT SMITH
4   20   20   200678   MPIC KITCHEN                  ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP      ALBERT FIRST     DIANN WASHINGTON
              Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 55 of 76 PageID #: 5270


                                                     MSP PEST CONTROL APPLICATIONS
                                                                   (April 2020)

M   D    Y    WO#              Work Location                    Pest                         Application               Supervisor         Authorized
4   20   20   200679   UNIT 26 KITCHEN              ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP               ALBERT FIRST     WANDA MILLER
4   20   20   200680   UNIT 26-B BUILDING           ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP               ALBERT FIRST     ANEISHA ADAMS
4   20   20   200681   UNIT 25 KITCHEN              ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP               ALBERT FIRST     PEGGY LARRY
4   20   20   200682   UNIT 42 KITCHEN              ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP               ALBERT FIRST     TIARA PENNINGTON
4   20   20   200683   UNIT 28 KITCHEN              ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP               ALBERT FIRST     CORDRIEL SMITH
4   20   20   200684   WELLNESS CENTER              ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP               ALBERT FIRST     MICHAEL WEEKS
4   20   20   200685   K-9(OFFICE&BARNS)            ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP               ALBERT FIRST     LEATHA WILLIAMS
4   20   20   200686   WELLNESS CENTER              MICE                          MOUSE GLUE BOARDS                ALBERT FIRST     MICHAEL WEEKS
4   21   20   200687   GROUNDS UPKEEPS              ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP               ALBERT FIRST     ANNETTE RATLIFF
4   21   20   200688   UNIT 29(OUTSIDE PERIMETER)   BEES                          WASP FREEZE                      ALBERT FIRST     VICINT BIRDS
4   21   20   200689   UNIT 29(OUTSIDE PERIMETER)   BEES                          KONTROL 4-4                      ALBERT FIRST     VICINT BIRDS
4   21   20   200690   UNIT 29 KITCHEN              ROACHES, ANTS, SPIDERS        TALSTAR                          ALBERT FIRST     EUNICE FLEMING
4   21   20   200691   UNIT 30-B BUILDING           ROACHES, ANTS, SPIDERS        TALSTAR                          ALBERT FIRST     DREKUS SMITH
4   21   20   200692   UNIT 30 KITCHEN              ROACHES, ANTS, SPIDERS        TALSTAR                          ALBERT FIRST     MAEOLA RASH
4   21   20   200693   UNIT 30 KITCHEN(WAREHOUSE)   ROACHES, ANTS, SPIDERS        TALSTAR                          ALBERT FIRST     MARY WILLIAMS
4   21   20   200694   UNIT 30-C BUILDING           MICE                          MOUSE GLUE BOARDS                ALBERT FIRST     JACQUELINE WRIGHT
4   21   20   200695   UNIT 30-C BUILDING           ROACHES, ANTS, SPIDERS        ONSLAUGHT FAST CAP               ALBERT FIRST     JACQUELINE WRIGHT
4   21   20   200696   UNIT 30-A BUILDING           ROACHES, ANTS, SPIDERS        TALSTAR                          ALBERT FIRST     VICTORIA ECKFORD
4   21   20   200697   UNIT 30-D BUILDING           ROACHES, ANTS, SPIDERS        TALSTAR                          ALBERT FIRST     TAKILA HAMPTON
4   22   20   200698   UNIT 30 KITCHEN(WAREHOUSE)   MICE                          BLUEMAX MINI BLOCKS              ALBERT FIRST     MARY WILLIAMS
4   22   20   200699   MAIN MAINTENANCE             MICE                          MOUSE GLUE BOARDS                ALBERT FIRST     DONNEL WIGGINS
4   22   20   200700   VOC-TECH KITCHEN             ROACHES, ANTS, SPIDERS        TALSTAR                          ALBERT FIRST     DEBRA DAVEPORT
4   27   20   200701   UNIT 29-G BUILDING           MICE                          MOUSE GLUE BOARDS                ALBERT FIRST     LAWANDA MCCASKILL
4   27   20   200702   UNIT 29-G BUILDING           ROACHES                       MAXFORCE ROACH KILLER BAIT GEL   ALBERT FIRST     CASHINA BROOKS
4   27   20   200703   UNIT 29-G BUILDING           ROACHES                       MAXFORCE ROACH KILLER BAIT GEL   ALBERT FIRST     CALVIN BEARDS
4   27   20   200704   UNIT 29-G BUILDING           ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     CASHAINA BROOKS
4   27   20   200705   UNIT 29-D BUILDING           MICE                          MICE                             ALBERT FIRST     MARTHA HUNTER
4   27   20   200706   UNIT 29-D BUILDING           ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     MARTHA HUNTER
4   27   20   200707   UNIT 29-C BUILDING           MICE                          MOUSE GLUE BOARDS                ALBERT FIRST     MARTHA HUNTER
4   27   20   200708   UNIT 29-C BUILDING           MICE                          MOUSE GLUE BOARDS                ALBERT FIRST     MARTHA HUNTER
4   27   20   200709   UNIT 29-B BUILDING           ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     MARTHA HUNTER
4   27   20   200710   UNIT 29-A BUILDING           ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     JACOB MEEKS
4   27   20   200711   UNIT 29-B BUILDING           ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     JACOB MEEKS
4   27   20   200712   UNIT 29-A BUILDING           MICE                          MOUSE GLUE BOARDS                ALBERT FIRST     JACOB MEEKS
4   27   20   200713   UNIT 29-A BUILDING           ROACHES                       MAXFORCE ROACH BAIT STATIONS     ALBERT FIRST     JACOB MEEKS
4   27   20   200714   UNIT 29-L BUILDING           ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     LASHUNDRA MCBRIDE
4   27   20   200715   UNIT 29-L BUILDING           MICE                          MOUSE GLUE BOARDS                ALBERT FIRST     LASHUNDRA MCBRIDE
4   27   20   200716   UNIT 29-J BUILDING           ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     JOHN WINTER
4   27   20   200717   UNIT 29-J BUILDING           MICE                          MOUSE GLUE BOARDS                ALBERT FIRST     JOHN WATTS
4   27   20   200718   UNIT 29-I BUILDING           MICE                          MOUSE GLUE BOARDS                ALBERT FIRST     PARKISHA KENNEDY
4   27   20   200719   UNIT 29-I BUILDING           ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     PARKISHA KENNEDY
4   27   20   200720   UNIT 42 KITCHEN              ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     LAQUITA CARPENTER
4   28   20   200721   UNIT 28 KITCHEN              ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     HARRY HARRIS
4   28   20   200722   MSP GATE 1                   ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     VICTORIA GRANDERSON
4   28   20   200723   VOC-TECH KITCHEN             ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     DEBRA DAVENPORT
4   28   20   200724   UNIT 25 KITCHEN              ROACHES, ANTS, SPIDERS        TRANSPORT                        ALBERT FIRST     YULANDA BELL
              Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 56 of 76 PageID #: 5271


                                                      MSP PEST CONTROL APPLICATIONS
                                                                    (April 2020)

M   D    Y    WO#              Work Location                     Pest                        Application       Supervisor         Authorized
4   28   20   200725   MPAE ADMINISTRATION           ROACHES, ANTS, SPIDERS        TRANSPORT               ALBERT FIRST     JANET EPPS
4   28   20   200726   MPAE KITCHEN                  ROACHES, ANTS, SPIDERS        TRANSPORT               ALBERT FIRST     JANET EPPS
4   28   20   200727   UNIT 26 KITCHEN               ROACHES, ANTS, SPIDERS        TRANSPORT               ALBERT FIRST     WANDA MILLER
4   28   20   200728   UNIT 29 KITCHEN               ROACHES, ANTS, SPIDERS        TRANSPORT               ALBERT FIRST     MELVIN THOMAS
4   28   20   200729   WARDEN MORRIS' RESIDENCE      SNAKES                        SNAKE-A-WAY             ALBERT FIRST     TIMOTHY MORRIS
4   28   20   200730   MPIC KITCHEN                  ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     KEVIN GAMBLE
4   29   20   200731   PROPERTY/CANTEEN/ARP/COMPL.   ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     KEITH FLEMMONS
4   29   20   200732   UNIT 30 KITCHEN               ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     MARY WILLIAMS
4   29   20   200733   CENTRAL WAREHOUSE             ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     STACY JOHNSON
4   29   20   200735   ARCHIVES                      ROACHES, ANTS, SPIDERS        BIFEN                   ALBERT FIRST     EUGENE THOMAS
                Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 57 of 76 PageID #: 5272


                                                         MSP PEST CONTROL APPLICATIONS
                                                                          (May 2020)

M   D     Y    WO#            Work Location                 Pest                             Application                 Supervisor           Authorized
5     1   20   200736   MSP GATE 1               ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      VICTORIA GRANDERSON
5     4   20   200737   UNIT 26-B BUILDING       ROACHES, ANTS, SPIDERS            BIFEN                            ALBERT FIRST      LAVETHA JOHNSON
5     4   20   200738   UNIT 42 KITCHEN          ROACHES, ANTS, SPIDERS            BIFEN                            ALBERT FIRST      SHIRLEY HARRIS
5     4   20   200739   UNIT 42 BACK DOCK        WASPS AND BEES                    WASP FREEZE II                   ALBERT FIRST      SHIRLEY HARRIS
5     4   20   200740   UNIT 42 BACK SHACK       WASPS AND BEES                    KONTROL 4-4                      ALBERT FIRST      SHIRLEY HARRIS
5     4   20   200741   UNIT 26-A BUILDING       ROACHES, ANTS, SPIDERS            BIFEN                            ALBERT FIRST      SHIRLEY HARRIS
5     4   20   200742   UNIT 25 HOUSINGS         ROACHES, ANTS, SPIDERS            BIFEN                            ALBERT FIRST      PEGGY LARRY
5     4   20   200743   UNIT 25 KITCHEN          ROACHES, ANTS, SPIDERS            BIFEN                            ALBERT FIRST      PEGGY LARRY
5     4   20   200744   UNIT 28 HOUSINGS         ROACHES, ANTS, SPIDERS            BIFEN                            ALBERT FIRST      JERMEY PAGE
5     4   20   200745   UNIT 28 KITCHEN          ROACHES, ANTS, SPIDERS            BIFEN                            ALBERT FIRST      JERMEY PAGE
5     4   20   200746   UNIT 29-H BUILDING       ROACHES, ANTS, SPIDERS            KONTROL 4-4                      ALBERT FIRST      LEE SIMON
5     4   20   200747   UNIT 29-H BUILDING       MICE                              MOUSE GLUE BOARDS                ALBERT FIRST      LEE SIMON
5     5   20   200748   UNIT 31 KITCHEN          ROACHES, ANTS, SPIDERS            TAURUS                           ALBERT FIRST      TENIKA ROMERO
5     5   20   200749   UNIT 31 HOUSINGS         ROACHES, ANTS, SPIDERS            TAURUS                           ALBERT FIRST      TENIKA ROMERO
5     5   20   200750   PERSONNEL DEPT.          ROACHES, ANTS, SPIDERS            TAURUS                           ALBERT FIRST      MARY FONVILLE
5     5   20   200751   PSYCH DEPT.              ROACHES, ANTS, SPIDERS            TAURUS                           ALBERT FIRST      MAGGIE MCCLELLAN
5     5   20   200752   PAROLE OFFICE            ROACHES, ANTS, SPIDERS            TAURUS                           ALBERT FIRST      WANDA CARTWRIGHT
5     5   20   200753   RECORD DEPARTMENT        ROACHES, ANTS, SPIDERS            TAURUS                           ALBERT FIRST      TRINA BURRIS
5     5   20   200754   POST OFFICE              ROACHES, ANTS, SPIDERS            TAURUS                           ALBERT FIRST      MONTAVIOUS DURR
5     5   20   200755   ILAP DEPT.               ROACHES, ANTS, SPIDERS            TAURUS                           ALBERT FIRST      CHARLES HALL
5     5   20   200756   THE PLACE                ROACHES, ANTS, SPIDERS            TAURUS                           ALBERT FIRST      ROSEMARY PIMPTON
5     5   20   200757   TELECOMMUNICATIONS       ROACHES, ANTS, SPIDERS            TAURUS                           ALBERT FIRST      HAROLD MITCHELL
5     5   20   200758   VISITATION CENTER        ROACHES, ANTS, SPIDERS            TAURUS                           ALBERT FIRST      CRYSTAL GOODEN
5     5   20   200759   ,MAIN MAINTENANCE        RATS                              BLUEMAX MINI BLOCKS              ALBERT FIRST      ALBERT FIRST
5     6   20   200760   UNIT 30 WAREHOUSE        WASPS                             WASP FREEZE II                   ALBERT FIRST      GLORIA ROBINSON
5     6   20   200761   UNIT 29-K BUILDING       ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      EUNICE FLEMING
5     6   20   200762   UNIT 30 KITCHEN          ROACHES                           MAXFORCE ROACH BAIT KILLER GEL   ALBERT FIRST      MAEOLA RASH
5    11   20   200763   UNIT 26 KITCHEN          ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      F. GARY
5    11   20   200764   UNIT 25 KITCHEN          ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      YOULANDA BELL
5    11   20   200765   UNIT 28 KITCHEN          ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      HARRY HARRIS
5    11   20   200766   UNIT 42 KITCHEN          ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      T. WEATHERSBY
5    11   20   200767   UNIT 31 KITCHEN          ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      DEBRA CROFT
5    11   20   200768   WELLNESS CENTER          ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      MICHAEL WEEKS
5    11   20   200769   MPIC KITCHEN             ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      KEVIN GAMBLE
5    11   20   200780   VOC-TECH KITCHEN         ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      CHRIS DAVIS
5    11   20   200781   MPIC TEXTILE             ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      TOI ROBINSON
5   `11   20   200782   HOUSE #7 WARDEN MORRIS   MOSQUIOTS                         B.I.T. BRIQUETS                  ALBERT FIRST      TIMOTHY MORRIS
5    12   20   200783   TRAINING DEPT.           WASPS                             WASP FREEZE II                   ALBERT FIRST      TRACY MCDONALD
5    12   20   200784   K-9(OFFICES&BARNS)       ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      KENNY SCOTT
5    12   20   200785   COLD STORAGE             ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      TED BALLARD
5    12   20   200786   MPAE KITCHEN             ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      JANET EPPS
5    12   20   200787   UNIT 29 KITCHEN          ROACHES, ANTS, SPIDERS            TALSTAR                          ALBERT FIRST      EUNICE FLEMING
5    13   20   200788   CANTEEN/PROPERTY/ARP     ROACHES, ANTS, SPIDERS            DEMON MAX                        ALBERT FIRST      KEITH FLEMONS
5    13   20   200789   CENTRAL WAREHOUSE        ROACHES, ANTS, SPIDERS            DEMON MAX                        ALBERT FIRST      SHEBA CHANDLER
5    13   20   200790   UNIT 30 GATE II          ROACHES, ANTS, SPIDERS            DEMON MAX                        ALBERT FIRST      ASHLEE WILLIAMS
5    18   20   200791   UNIT 25 KITCHEN          ROACHES, ANTS, SPIDERS            DEMON MAX                        ALBERT FIRST      PEGGY LARRY
5    18   20   200792   UNIT 42 KITCHEN          ROACHES, ANTS, SPIDERS            DEMON MAX                        ALBERT FIRST      LAQUITA CARPENTER
               Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 58 of 76 PageID #: 5273


                                                           MSP PEST CONTROL APPLICATIONS
                                                                            (May 2020)

M   D    Y    WO#            Work Location                      Pest                           Application         Supervisor          Authorized
5   18   20   200793   UNIT 28 KITCHEN             ROACHES, ANTS, SPIDERS            DEMON MAX               ALBERT FIRST       J. SMITH
5   18   20   200794   UNIT 30-A BUILDING          ROACHES, ANTS, SPIDERS            DEMON MAX               ALBERT FIRST       SHIRLEY MILLER
5   18   20   200795   UNIT 30-B BUILDING          ROACHES, ANTS, SPIDERS            DEMON MAX               ALBERT FIRST       MICHELLE HORN
5   18   20   200796   UNIT 30 KITCHEN             ROACHES, ANTS, SPIDERS            DEMON MAX               ALBERT FIRST       C. DAVIS
5   18   20   200797   UNIT 30-D BUILDING          ROACHES, ANTS, SPIDERS            DEMON MAX               ALBERT FIRST       DAVID SMITH
5   18   20   200798   UNIT 30-C BUILDING          ROACHES, ANTS, SPIDERS            DEMON MAX               ALBERT FIRST       ENICA LACKLEY
5   19   20   200799   UNIT 29-H, A&B ZONE         ROACHES, ANTS, SPIDERS            KONTROL 4-4             ALBERT FIRST       ANITA THURMOND
5   19   20   200800   UNIT 29-G, B-ZONE           ROACHES, ANTS, SPIDERS            KONTROL 4-4             ALBERT FIRST       JASEUOIA MITCHELL
5   19   20   200801   UNIT 30, 29, KITCHENS       ROACHES, ANTS, SPIDERS            KONTROL 4-4(FOGGER)     ALBERT FIRST       ELY SMITH
5   19   20   200802   VISITATION                  ROACHES, ANTS, SPIDERS            BUGS                    ALBERT FIRST       VICTORIA GRANBERRY
5   19   20   200803   UNIT 25 OUTSIDE PERIMETER   RATS                              BLUEMAX MINI BLOCKS     ALBERT FIRST       PEGGY LARRY
5   19   20   200804   UNIT 26 PERIMETER           RATS                              BLUEMAX MINI BLOCKS     ALBERT FIRST       WANDA MILLER
5   19   20   200805   UNIT 26 KITCHEN             ROACHES, ANTS, SPIDERS            DEMON MAX               ALBERT FIRST       WANDA MILLER
5   26   20   200806   UNIT 29-H BUILDING          ROACHES, ANTS, SPIDERS            TALSTAR                 ALBERT FIRST       CASHAINA BROOKS
5   26   20   200807   UNIT 29-G BUILDING          ROACHES, ANTS, SPIDERS            TALSTAR                 ALBERT FIRST       CHARLES TOWNSENDS
5   26   20   200808   UNIT 29 ADMIN.              MICE                              MOUSE GLUE BOARDS       ALBERT FIRST       LEE SIMON
5   26   20   200809   UNIT 29 KITCHEN             ROACHES, ANTS, SPIDERS            TALSTAR                 ALBERT FIRST       STANLEY FLAGS
5   26   20   200810   UNIT 29-I BUILDING          ROACHES, ANTS, SPIDERS            TALSTAR                 ALBERT FIRST       ROBERTA WILLIS
5   26   20   200811   UNIT 29-J BUILDING          ROACHES, ANTS, SPIDERS            TALSTAR                 ALBERT FIRST       WALTER RANDLE
5   26   20   200812   UNIT 29-L BUILDING          ROACHES, ANTS, SPIDERS            TALSTAR                 ALBERT FIRST       P. KENNEDY
5   27   20   200813   UNIT 26-B BUILDING          ROACHES, ANTS, SPIDERS            KONTROL 4-4             ALBERT FIRST       ANEISHA ADAMS
5   27   20   200814   UNIT 26 KITCHEN             ROACHES, ANTS, SPIDERS            KONTROL 4-4             ALBERT FIRST       WANDA MILLER
5   27   20   200815   UNIT 29 KITCHEN             ROACHES, ANTS, SPIDERS            KONTROL 4-4             ALBERT FIRST       MAEOLA RASH
5   27   20   200816   UNIT 30 ADMIN.              MICE                              MOUSE GLUE BOARDS       ALBERT FIRST       BRENDA S. COX
5   27   20   200817   MPIC METAL FAB              ROACHES, ANTS, SPIDERS            TAURUS                  ALBERT FIRST       TOI ROBISON
5   27   20   200818   VOC-TECH SCHOOLS&SHOPS      ROACHES, ANTS, SPIDERS            TAURUS                  ALBERT FIRST       YOLANDA HAYES
5   27   20   200819   VOC-TECH KITCHEN            ROACHES, ANTS, SPIDERS            TAURUS                  ALBERT FIRST       YOLANDA HAYES
5   27   20   200820   MPIC TEXTILE                ROACHES, ANTS, SPIDERS            TAURUS                  ALBERT FIRST       WENDELL ANDERSON
5   28   20   200821   UNIT 28 KITCHEN             ROACHES, ANTS, SPIDERS            KONTROL 4-4             ALBERT FIRST       RAYMOND CHAMERMON
                 Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 59 of 76 PageID #: 5274


                                                            MSP PEST CONTROL APPLICATIONS
                                                                         (June 2020)

M    D    Y    WO#            Work Location                 Pest                           Application                 Supervisor            Authorized
12   2    19   200304   MPIC KITCHEN            ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        TOI COX ROBINSON
12   2    19   200305   SUP'S KIRCHEN           ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        ROSEMARY PIMPTON
12   2    19   200306   PERSONNEL DEPARTMENT    ROACHES, ANTS, SPIDERS       DEMON WP                           ALBERT FIRST        TRACY ALSUP
12   2    19   200307   PAROLE OFFICE           ROACHES, ANTS, SPIDERS       DEMON WP                           ALBERT FIRST        LINDA BELL
12   2    19   200308   RECORD DEPARTMENT       ROACHES, ANTS, SPIDERS       DEMON WP                           ALBERT FIRST        SHRONDA WILLIS
12   2    19   200310   LEGAL DEPARTMENT        ROACHES, ANTS, SPIDERS       DEMON WP                           ALBERT FIRST        NIKI GARDNER
12   2    19   200311   POST OFFICE             ROACHES, ANTS, SPIDERS       DEMON WP                           ALBERT FIRST        MARTAVIOUS DURR
12   2    19   200312   UNIT 42 KITCHEN         ROACHES, ANTS, SPIDERS       DEMON WP                           ALBERT FIRST        A. JONES
12   3    19   200313   SUPT'S RESIDENCE        MICE                         BLUEMAX MINI BLOCKS                ALBERT FIRST        SUPT. MARSHALL TURNER
12   3    19   200314   UNIT 29 KITCHEN         ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        KATABA JORDAN
12   4    19   200315   UNIT 30 KITCHEN         ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        KATRINE JACKSON
12   4    19   200316   UNIT 30-D BUILDING      ROACHES, ANTS, SPIDERS       MAXF. ROACH KILLER BAIT STATIONS   ALBERT FIRST        H. HICKS
12   4    19   200317   UNIT 30-D BUILDING      ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        H. HICKS
12   4    19   200318   AUTO SHOP               MICE                         MOUSE GLUE BOARDS                  ALBERT FIRST        ANTOINETTE NORMAN
12   4    19   200319   UNIT 31 HOUSING         ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        DEBRA CROFT
12   4    19   200320   UNIT 31 KITCHEN         ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        DEBRA CROFT
12   9    19   200321   UNIT 26 KITCHEN         ROACHES, ANTS, SPIDERS       TALSTAR                            ALBERT FIRST        ELLA HOGAN
12   9    19   200322   UNIT 26-B BUILDING      ROACHES, ANTS, SPIDERS       TALSTAR                            ALBERT FIRST        BEATRIC SMITH
12   9    19   200323   UNIT 26-A BUILDING      ROACHES, ANTS, SPIDERS       TALSTAR                            ALBERT FIRST        SHIRLEY BROWN
12   9    19   200324   UNIT 25 KITCHEN         ROACHES, ANTS, SPIDERS       TAURUS                             ALBERT FIRST        YULANDA BELL
12   9    19   200325   UNIT 25 HOUSING         ROACHES, ANTS, SPIDERS       TAURUS                             ALBERT FIRST        YULANDA BELL
12   9    19   200326   UNIT 28 HOUSING         ROACHES, ANTS, SPIDERS       TAURUS                             ALBERT FIRST        HARRY HARRIS
12   9    19   200327   UNIT 28 KITCHEN         ROACHES, ANTS, SPIDERS       TAURUS                             ALBERT FIRST        HARRY HARRIS
12   9    19   200328   UNIT 42 KITCHEN         ROACHES, ANTS, SPIDERS       TAURUS                             ALBERT FIRST        DELOIS NIX
12   9    19   200329   TRAINING BUILDING       ROACHES, ANTS, SPIDERS       TAURUS                             ALBERT FIRST        BEVERLY COX
12   9    19   200330   TRAINING BUILDING       MICE                         MOUSE GLUE BOARDS                  ALBERT FIRST        BEVERLY COX
12   9    19   200331   FIRING RANGE            MICE                         MOUSE GLUE BOARDS                  ALBERT FIRST        KENNY SCOTT
12   9    19   200332   FIRING RANGE            RATS                         MAXF. MINI BLUE BLOCKS             ALBERT FIRST        KENNY SCOTT
12   10   19   200333   WELLNESS CENTER         ROACHES, ANTS, SPIDERS       TALSTAR                            ALBERT FIRST        MICHAEL WEEKS
12   10   19   200334   VOC-TECH SCHOOL SHOP    ROACHES, ANTS, SPIDERS       TALSTAR                            ALBERT FIRST        H. KEYS
12   10   19   200335   VOC-TECH KITCHEN        ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        DAVID HDLEY
12   10   19   200336   MPIC TEXTILE            ROACHES, ANTS, SPIDERS       TALSTAR                            ALBERT FIRST        C. MOSLEY
12   10   19   200337   TELECOMMUNICATION       ROACHES, ANTS, SPIDERS       TALSTAR                            ALBERT FIRST        HAROLD MITCHELL
12   10   19   200338   UNIT 30 KITCHEN         ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        MICHAEL NONEYCUTT
12   10   19   200339   UNIT 29 KITCHEN         ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        M. MINTON
12   10   19   200340   VISITATION DEPARTMENT   ROACHES, ANTS, SPIDERS       TALSTAR                            ALBERT FIRST        CRYSTAL GODDEN
12   11   19   200341   MPIC KITCHEN            ROACHES, ANTS, SPIDERS       TALSTAR                            ALBERT FIRST        KEVIN GAMBLE
12   11   19   200342   GROUNDS UPKEP           ROACHES, ANTS, SPIDERS       TALSTAR                            ALBERT FIRST        ANNETTE RATLIFF
12   11   19   200343   K-9(OFFICES&BARNS)      ROACHES, ANTS, SPIDERS       TALSTAR                            ALBERT FIRST        LEATHER WILLIAMS
12   16   19   200344   UNIT 30 ABE             ROACHES, ANTS, SPIDERS       ONSLAUGHT FAST CAP                 ALBERT FIRST        GLORIA ROBINSON
12   16   19   200345   UNIT 30-A BUILDING      ROACHES, ANTS, SPIDERS       ONSLAUGHT FAST CAP                 ALBERT FIRST        VICTORIA ECKFORD
12   16   19   200346   UNIT 30-B BUILDING      ROACHES, ANTS, SPIDERS       ONSLAUGHT FAST CAP                 ALBERT FIRST        EDDIE NORRIS
12   16   19   200347   UNIT 30 LIBRARY         ROACHES, ANTS, SPIDERS       ONSLAUGHT FAST CAP                 ALBERT FIRST        MELINDA BUCKNER
12   16   19   200348   UNIT 30 KITCHEN         ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        JACUQUIN WRIGHT
12   16   19   200349   UNIT 30-C BUILDING      ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        JACUQUIN WRIGHT
12   16   19   200350   UNIT 30-D BUILDING      ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        SHYLA DAVIS
12   17   19   200351   UNIT 25 KITCHEN         ROACHES, ANTS, SPIDERS       KONTROL 4-4                        ALBERT FIRST        SHIRLEY MILLER
12   17   19   200352   UNIT 42 KITCHEN         ROACHES, ANTS, SPIDERS       ONSLAUGHT FAST CAP                 ALBERT FIRST        J.D. STALLINGS
12   17   19   200353   UNIT 28 KITCHEN         ROACHES, ANTS, SPIDERS       ONSLAUGHT FAST CAP                 ALBERT FIRST        CADERRICK SMITH
                 Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 60 of 76 PageID #: 5275


                                                          MSP PEST CONTROL APPLICATIONS
                                                                       (June 2020)

M    D    Y    WO#            Work Location               Pest                          Application          Supervisor            Authorized
12   17   19   200354   UNIT 29 KITCHEN       ROACHES, ANTS, SPIDERS       KONTROL 4-4                ALBERT FIRST        SUPERVISOR MINTON
12   17   19   200355   CID                   ROACHES, ANTS, SPIDERS       ONSLAUGHT FAST CAP         ALBERT FIRST        ARLISA MARTIN
12   18   19   200356   RECORD DEPARTMENT     SPIDERS                      ONSLAUGHT FAST CAP         ALBERT FIRST        JASMINE TAYLOR
12   23   19   200357   UNIT 29-A BUILDING    ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        CHARLES TOWNSEND
12   23   19   200358   UNIT 26-B BUILDING    ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        PARKESHE KENNEDY
12   23   19   200359   UNIT 29-C BUILDING    ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        LINDA PRICE
12   23   19   200360   UNIT 29-D BUILDING    ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        LASHUNDRA MCBRIDE
12   23   19   200361   UNIT 29-E BUILDING    ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        JASMINE WATTS
12   23   19   200362   UNIT 29-F BUILDING    ROACHES, ANTS, SPIDERS       TAURUS                     ALBERT FIRST        MARTHA HUNTER
12   23   19   200363   UNIT29-G BUILDING     ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        BETTY POWELL
12   23   19   200364   UNIT 29-H BUILDING    ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        LAWANDA MCASKILL
12   23   19   200365   UNIT 29-I BUILDING    ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        LEETIA REDDMAN
12   23   19   200366   UNIT 29-J BUILDING    ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        OFC. MAGEE
12   23   19   200367   UNIT 29-K BUILDING    ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        J. MEEKS
12   23   19   200368   UNIT 29-L BUILDING    ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        YVONNE EPPS
12   24   19   200369   UNIT 30-KITCHEN       ROACHES, ANTS, SPIDERS       KONTROL 4-4                ALBERT FIRST        KATHERINE JACKSON
12   24   19   200370   UNIT 29 KITCHEN       ROACHES, ANTS, SPIDERS       KONTROL 4-4                ALBERT FIRST        SUPERVISOR MINTON
12   24   19   200371   UNIT 26 KITCHEN       ROACHES, ANTS, SPIDERS       TAURUS                     ALBERT FIRST        M.FOSTER
12   24   19   200372   UNIT 25 KITCHEN       ROACHES, ANTS, SPIDERS       TAURUS                     ALBERT FIRST        YULONDA BELL
12   24   19   200373   UNIT 28 KITCHEN       ROACHES, ANTS, SPIDERS       KONTROL 4-4                ALBERT FIRST        GARY DAVIS
12   24   19   200374   UNIT 42 KITCHEN       ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        DELOIS NIX
12   26   19   200375   PRE-RELEARSE          SNAKES                       SNAKE-A WAY                ALBERT FIRST        MIRRINDA FRISON
12   26   19   200376   PRE-RELEARSE          MICE                         MOUSE GLUE BOARDS          ALBERT FIRST        MIRRINDA FRISON
12   30   19   200377   UNIT 26 KITCHEN       ROACHES, ANTS, SPIDERS       KONTROL 4-4                ALBERT FIRST        WANDA MILLER
12   30   19   200378   UNIT 25 KITCHEN       ROACHES, ANTS, SPIDERS       TALSTAR                    ALBERT FIRST        SHIRLEY MILLER
12   30   19   200379   UNIT 42 KITCHEN       ROACHES, ANTS , SIDERS       TALSTAR                    ALBERT FIRST        PATRICIA JONES
12   30   19   200380   UNIT 28 KITCHEN       ROACHES, ANTS , SIDERS       TALSTAR                    ALBERT FIRST        CORDERIAL SMITH
12   30   19   200381   UNIT 29 KITCHEN       ROACHES, ANTS , SIDERS       KONTROL 4-4                ALBERT FIRST        RONJA JOHNSON
12   31   19   200382   UNIT 30 KITCHEN       ROACHES, ANTS , SIDERS       KONTROL 4-4                ALBERT FIRST        MAEOLA RASH
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 61 of 76 PageID #: 5276




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Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 62 of 76 PageID #: 5277
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 63 of 76 PageID #: 5278
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 64 of 76 PageID #: 5279
Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 65 of 76 PageID #: 5280
                   Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 66 of 76 PageID #: 5281



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Revision 7/01/03                                     MAINTENANCE
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                    Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 67 of 76 PageID #: 5282



                                                 MISSISSIPPI DEPARTMENT OF CORRECTIONS
24-01-01-F1
Revision 7101/03                                 CONSTRUCTION MAINTENANCE WORKSHEET                                             Nf! - 13264
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                               Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 68 of 76 PageID #: 5283




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                                                                               UNIT REGISTER
    Date         Hours        Count                                               Incident                                           Officer                        Watch              Signed

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                          Record all visitors and incidents in unit regardless of significance. Start at midnight Frequent counts must be made throughout the day and night.
                          Record allunitcounts. At change of shift, relieving officer counts witti officer on duty. Officer making count will after his rotation. Show hour of count
                          Show timeofficersreport on and oHduty, and officers on day off. Be atert Make frequent inspections. Keep unit clean. Mail oiiginal to security
                          office'twroe a week. Log all movement in and out of unit Log all visitorsexcept visiting day - Security.
                                                                           RETAIN DUPLICATE SN BOOK




                                                                                            EXHIBIT
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                          Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 69 of 76 PageID #: 5284




                                     IVIISSISS1.-F. department OF CORRECTIONS
                                                                           UNIT REGISTER
   UNITNO,^A1^CATION                                                           UNIT ADMINISTRATOR                                                               DATE.
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                     Record all visitors Wd Incidents in unit regardless ofsignificance. Start atmidnigtit. Frequent counts must bemade throughout t^le day and night.
                     Record all unit counts. At change of shift, relieving officer counts virilh officer on duty Officer making cxjunt will after his rotation. Show hour of count.
                     Show time officers report on and off duly, and officers on day off. Be alert Make frequent inspections. Keep unit clean. Mail original to security
                     office twice a week Log all movement in and out of unit. Log all visitors except visittng day - Security.

                                                                       RETAIN DUPLICATE IN BOOK
                                                                                                                                                                            I
          Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 70 of 76 PageID #: 5285




      At approximately 1002 hours. Officer Washington departed Unit 30 Gate II in vehicle #57162 with laundry.

      At approximately 1007 hours, Unit 30 outer perimeter and Gale II ail secure.

      At approximately 1012 hours. Mr. Smith departed Unit 30 Gate II in vehicle #56890

      At approximately 1016 hours. Unit 30 fence check began by Officer J, Streeter.

      At approximately 1019 hours, trash detail began.

      At approximately 1024 hours, trash detail ended

      At approximately 1032 hours. Unit 30 outer perimeter and Gate II all secure

    ^^tapproximately 1032 hours, Unit 30-A Building Yard call has ended. Unit 30-B Building B-Zone yard call began.

      06/30/2020 13:38 - HORN. MICHELLE • GENERAL (06/30/2020 14:00)

         At approximately 1033 hours, Unit 30 fence check complete by Officer Streeter; all secure.

      At approximately 1035 hours, Mr. Grant entered unit 30 Gate II in vehicle #54248.

      At approximately 1054 hours, Mr. Smith departed unit 30 Gate II in vehicle #56890.

      At approximately 1108 hours. Acting Superintendent T Morris completed a Signal 12 around Unit 30.

      At approximately 1128 hours. Officer Scales entered Unit 30 Gale II in vehicle #75158 to drop off 1 J3 to 30 B Building from the parole board

      At approximately 1129 hours. Officer Scales departed Unit 30 Gate II in vehicle #75158.

      At approximately 1129 hours. Ice call complete.

      At approximately 1137 hours. Officer Woods and Officer Cashew entered Unit 30 Gate II in vehicle #03006 with 10 J3's {2-A. 4-8, 1-C, 3-D)
      from Unit 42 sick call.                                                    ,           •                       •        >



      06/30/2020 15:22 • HORN. MICHELLE - GENERAL <06/30/2020 15:31t


         At approximately 1141 hours, Officer Woods and Officer Cashaw .departed Unit-30 Gate 11 in vehicle #03006.

        approximately 1144 hours, Unit 30 C Building yard call has ended. Unit 30 D Building, A-Zone yard call began.

!     At approximately 1144 hours, the cell,window, bar and door check began by Captain Letha Townsend.
I

!     At approximately 1201 hours. Unit 30 outer perimeter and Gate lUall secure.

      At approximately 1219 hours, Unit 30 A Building, A-Zone refused yard call.
I


U^^6rapproxtmately 1226 hours, Yard call ended due to the rain.
'     At approximately 1229 hours, Captain Letha Townsend advised that the cell, window, bar and door check was complete; all appear secure



      06/30/2020 15:33 • HORN. MICHELLE - GENERAL <06/30/2020 15:541


         At approximately 1321 hours, Mr. Anderson entered Unit 30 Gate 11 in vehicle #170045.

      At approximately 1328 hours. Unit 42 fence check began by Officer Douglas

      At approximately 1339 hours. Unit42 fence check complete by Officer Douglas; all secure.

      At approximately 1400 hours. Warden B, Cox entered Unit 30 Gate II in vehicle #65942 with state issue

      At approximately 1431 hours, Warden B. Cox departed Unit 30 Gate II in vehicle #65942.

      At approximately 1443 hours, Mr. Anderson departed Unit 30 Gate II in vehicle #170045
      Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 71 of 76 PageID #: 5286



       Mr.Anderson enter with laundry- vehicle #57162 clear by officer Jenkins.



   06/30/2020 08:00 - MCCLAIN. TRATONYA - GENERAL

       Nurse Jones enter to issue medication.




   06/30/2020 08:03 - MCCLAIN. TRATONYA - GENERAL


       Food truck driver Mr Fultz enter- vehicle #170045 clear by officer Jenkins.



   06/30/2020 08:09 ♦ MCCLAIN. TRATONYA - GENERAL (06/30/2020 08:10)

       Mr.Anderson depart with laundry- vehicle #57162 clear by officer Jenkins.



   06/30/2020 08:11 - MCCLAIN. TRATONYA - GENERAL f06/30/2020 08:12)

      Armark Food truck depart- vehicle #170045 clear by officer Jenkins.



   06/30/2020 09:52 - HORN. MICHELLE - GENERAL (06/30/2020 11:47)

      At approximately 0845 hours, the Area II Certified count cleared with 1,626 offenders.

   At approximately 0845 hours, the Institutional Certified count cleared with 2,026 offenders.

   At approximately 0859 hours. Unit 30 outer perimeter all secure.

   At approximately 0905 hours, Officer Washington entered Unit 30 Gate II in vehicle #57162 to pick up laundry

   At approximately 0906 hours, Mr. Grant departed Unit 30 Gate II in vehicle #54248.

   At approximately 0913 hours, Unit 31 fence check began by Officer C: Harris.

_^At approximately 0913 hours, Unit 30 CBuilding, A-Zone Yard call began.


   06/30/2020 11:48 - HORN. MICHELLE - GENERAL (06/30/2020 12:12)

      At approximately 0915 hours, Ice and chemical call began.

   At approximately 0923 hours, Unit 31 fence check complete by Officer C. Harris; all secure.

   At approximately 0926 hours. Area II Formal Body count cleared with 1,626 offenders.

   At approximately 0930 hours. Officer S. Cashaw entered Unit 30 Gate II in vehicle #03006 to drop off 1 J3.

   At approximately 0932 hours, Unit 30 outer perimeter and Gate II all secure.

   At approximately 0941 hours. Officer Scales entered Unit 30 Gate II to pick up 1 J3 from 30-B Building for Parole Board.

   At approximately 0948 hours, chemical call has ended.

   At approximately 0949 hours. Officer Scales departed Unit30 Gate li in vehicle #75158 with 1 J3 from 30-8 Building enroute to Parole Board



   06/30/2020 13:24 - HORN. MICHELLE - GENERAL (06/30/2020 13:33)

      At approximately 1000 hours, Officer Cashaw departed unit 30 Gate II in vehicle #03006 with 10 J3's (2-A, 4-B, 1-C, 3-D) enroute to Unit 42
   sick call.
  Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 72 of 76 PageID #: 5287




07/01/2020 13:01 - MCCRAY. AQUILLA - GENERAL

   Ambulance depart with 1 j3 from 30C building



07/01/2020 13:03 - MCCRAY. AQUILLA - GENERAL


        28 yard call begin




07/01/2020 13:13 - MCCRAY. AQUILLA - GENERAL (07/01/2020 13:14)

   Area II Formal count cleared with 1627 offenders by Officer McCray/CS Taylor Security Lt Cross



07/01/2020 13:59 • MCCRAY. AQUILLA - GENERAL

   75161 Scuggs enters with 2 from ID



07/01/2020 14:07 - MCCRAY. AQUILLA • GENERAL (07/01/2020 14:08)

   Ice call/ Chemical call begin



07/01/2020 14:15 - MCCRAY. AQUILLA - GENERAL


i,^^0nit 30A Bzone yard call begin

07/01/2020 14:41 • MCCRAY. AQUILLA - GENERAL (07/01/2020 14:42)

   unit 26A fire drill complete



07/01/2020 14:42 - MCCRAY. AQUILLA - GENERAL (07/01/2020 14:43)

   Unit 26A mock fire drill begin advised by ofc Borwn



07/01/2020 15:09 - MCCRAY. AQUILLA • GENERAL (07/01/2020 15:12)

   Officer Woods enters with 1 j3 from 300 off red Phone



07/01/2020 15:25 - MCCRAY. AQUILLA - GENERAL (07/01/2020 15:27)

   Warden Cox enters Gate II with supplies



07/01/2020 15:40 • MCCRAY. AQUILLA - GENERAL (07/01/2020 15:411


   65942Warden Depart 30 gate !l
     Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 73 of 76 PageID #: 5288



       Officer Woods enters with 1 j3 from 30C off red Phone



    07/01/2020 15:25 • tWICCRAY. AQUILLA - GENERAL (07/01/2020 15:27)


       Warden Cox enters Gate II with supplies



    07/01/2020 15:40 - MCCRAY. AQUILLA • GENERAL (07/01/2020 15:411

       65942Warden Depart 30 gate II




  J^^7/01/2020 15:42 -IVtCCRAY. AQUILLA -GENERAL
       30 A B zone yard call completed



    07/01/2020 15:43 • MCCRAY. AQUILLA - GENERAL (07/01/2020 15:441

       308 fire drill completed advised by ofc Eckford



    07/01/2020 16:04 - MCCRAY. AQUILLA - GENERAL (07/01/2020 16:101

      Unit 308 A zone yard call 26 offenders



    07/01/2020 16:39 - MCCRAY. AQUILLA^ GENERAL

      Warden Cox depart 30 Gate II



    07/01/2020 16:44 - MCCRAY. AQUILLA - GENERAL (07/01/2020 16:461

      Officer Thomas depart with 4 j3s to sick call 2C 3D



    07/01/2020 16:53 ♦ MCCRAY. AQUILLA »GENERAL (07/01/2020 17:051

      Unit 26 fence check begin by ofc Collins



    07/01/2020 17:05 - MCCRAY. AQUILLA - GENERAL (07/01/2020 17:061


      Unit 26 fence check completed by ofc Collins



    07/01/2020 17:15 - MCCRAY. AQUILLA - GENERAL


      Area II Formal count cleared with 1626 offenders by Officer McCray/CS Taylor Security Brown



^1^7/01/2020 17:31 -MCCRAY. AQUILLA -GENERAL (07/01/2020 17:32)
      30 B yard call begin



   07/01/2020 19:33 • MCCRAY. AQUILLA - GENERAL

      Unit 26 fence check begin by ofc McGee
     Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 74 of 76 PageID #: 5289




    07/02/2020 10:20 - MCCRAY. AQUILLA - GENERAL (07/02/2020 10:21)

      77171 Scruggs/Johnson depart with 6 j3s for sick call 4A 28



    07/02/2020 10:45 - MCCRAY. AQUILLA - GENERAL (07/02/2020 10:46)

      Feeding begin



    07/02/2020 11:24 - MCCRAY. AQUILLA • GENERAL (07/02/2020 11:25)

      Johnson Scruggs enters with 5 4A 1B from sici< call



    07/02/2020 11:29 - MCCRAY. AQUILLA - GENERAL (07/02/2020 11:30)

      Area II formal count clearred with 1623 offenders by ofc McCray/Roberson advised Lt Cross



    07/02/2020 11:40 - MCCRAY. AQUILLA - GENERAL (07/02/2020 11:41)

      Scruggs/Johnson depart with 3C 2D to sick call



    07/02/2020 11:51 - MCCRAY. AQUILLA - GENERAL

      Armark Grant enters with emptties #54248



^JHVg2/2020 12:04 • MCCRAY. AQUILLA - GENERAL
¥     Yard call ice call begin advised by CC Jones



    07/02/2020 12:17 - MCCRAY. AQUILLA - GENERAL

      Feeding complete



    07/02/2020 12:20 - MCCRAY. AQUILLA - GENERAL (07/02/2020 13:10)

      Telemed end adivsed by Warden Cox area was sanitized



    07/02/2020 12:55 - MCCRAY. AQUILLA • GENERAL (07/02/2020 13:09)

       Scruggs/Johnson 2C 1B 2D



    07/02/2020 13:17 - MCCRAY. AQUILLA - GENERAL (07/02/2020 13:19)

      Area II formal count cleared with 1623 offedneres by ofc McCray/Roberson advised Lt Cross



    07/02/2020 13:24 - MCCRAY. AQUILLA - GENERAL

      Johnson Scurggs depart with 2 j3s 1A 1C
          Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 75 of 76 PageID #: 5290




I     07/0272020 13:28 - MCCRAY. AQUILLA - GENERAL
'        57162 Laundry Smith enters 30 Gate II


    jfa?/02y202013:29 -MCCRAY. AQUILLA -GENERAL
I        Yard call completed for 30C building


      07/02/2020 13:39 - MCCRAY. AQUILLA - GENERAL

         Laundry truck Smith depart



      07/02/2020 13:40 - MCCRAY. AQUILLA - GENERAL <07/02/2020 13:4H

         170045 Armark anderson enter 30 gate II



      07/02/2020 13:53 - MCCRAY. AQUILLA - GENERAL (07/02/2020 13:54>
I
i        Thomas. Johnson depart with 2D for ID



      07/02/2020 14:56 - MCCRAY. AQUILLA - GENERAL

         Scruggs Johnson enters with 4 1A 2C and a discharged



      07/02/2020 14:58 - MCCRAY. AQUILLA - GENERAL (07/02/2020 14:S9>

        Area II formal count cleared with 1622 by ofc Mccray/CC Jones advised Lt Cross



      07/02/2020 15:17 - MCCRAY. AQUILLA - GENERAL (07/02/2020 15:18)

         75153 Thomas/Johnson depart with no offenders



      07/02/2020 15:20 - MCCRAY. AQUILLA - GENERAL


         Scurgggs depart with 1 j3 from 30C enroute to unit 42



      07/02/2020 15:24 - MCCRAY. AQUILLA - GENERAL (07/02/2020 15:251

         Unit 26 fence check begin by ofc Gary



      07/02/2020 15:58 - MCCRAY. AQUILLA - GENERAL

         Ice Call Chemical call begin for unit 30



      07/02/2020 16:58 - MCCRAY. AQUILLA - GENERAL (07/02/2020 16:59)

         75153 Scruggs/Johnson enters with 1 retuning from 42
         Case: 4:20-cv-00007-DMB-JMV Doc #: 118-1 Filed: 07/13/20 76 of 76 PageID #: 5291



    07/03/2020 16:33 - HORN. MICHELLE - GENERAL (07/03/2020 16:481

          At approximately 1432 hours, Deputy Warden S. Wren departed unit 30 gate II with 0 J3s.

^>|^t approximately 1459 hours, Unit 28 yard call began.
    At approximately 1505 hours, trash detail began.

    At approximately 1512 hours, trash detail ended.

J^t approximately 1515 hours. Unit 31 yard call began.
    At approximately 1522 hours, Maintenance Seger and 1 J3 entered Unit 30 Gate II in vehicle #02984 en route to 30 Kitchen.

    At approximately 1538 hours. Maintenance Seger and 1 J3 departed Unit 30 Gate II in vehicle #02984.

    At approximately 1543 hours. Officer E. Thomas entered Unit 30 Gate II with 9 J3s (3-A, 3-C, 3-D)from Unit 42 sick call.

    At approximately 1602 hours, Feeding began at Unit 30.                                             ^
    At approximately 1607 hours, Unit 30 Gate I all secure.

 sjsf.   t approximately 1631 hours. Unit 28 yard call ended.

    At approximately 1639 hours, Unit 30 Gate I all secure.

    At approximately 1639 hours, ice and chemical call began.




    End of Log Entries
